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     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                             MIAMI DIVISION
                              CASE NO. 18-cv-60788-JEM
     3

     4     SPRINT COMMUNICATIONS, INC.,
                                  INC.,

     5           Plaintiff/Counterclaim Defendant,

     6           vs.

     7                                                     Miami, Florida
                                                           April 13, 2022
     8     STEPHEN CALABRESE, as an individual,            Pages 1-78
           NEXTEL, INC.,
                   INC., d/b/a NEXTEL WORLDWIDE,           9:30 p.m. - 11:30 a.m.
     9     RETROBRANDS USA LLC,
           JEFFREY KAPLAN, as an individual, and
    10     NEXTEL WORLDWIDE MOBILE, INC.,
                                    INC.,

    11          Defendants/Counterclaimants.
           _______________________________________________________________
    12
                                 TRANSCRIPT OF JURY TRIAL
    13                                    VOLUME 3
                           BEFORE THE HONORABLE JOSE E. MARTINEZ
    14                         UNITED STATES DISTRICT JUDGE

    15     APPEARANCES:

    16     FOR THE PLAINTIFF/COUNTERCLAIM DEFENDANT:
                                   McGuireWoods, LLP
    17                             BY: BRIAN C. RIOPELLE, ESQ.
                                   BY: LUCY J. WHEATLEY, ESQ.
    18                             BY: AMANDA L. DeFORD, ESQ.
                                   800 East Canal Street
    19                             Richmond, Virginia 23219

    20     FOR THE DEFENDANTS/COUNTERCLAIMANTS:
                                   Erickson Kernell IP
    21                             BY: JAMES
                                        JAMES J. KERNELL,
                                                  ERNELL, ESQ.
                                   8900 State Line Road
    22                             Suite 500
                                   Leawood, Kansas 66206
    23
                                   Lee & Amtzis, PL
    24                             BY: WAYNE SCHWARTZ, ESQ.
                                   5550 Glades Road
    25                             Boca Raton, Florida 33431


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           1    REPORTED BY:        DAWN M. SAVINO, R.P.R., C.R.R.
                                    Official Federal Court Stenographer
           2                        400 N. Miami Avenue, 10S03
                                    Miami, Florida 33128
           3                        Telephone: 305-523-5598
                ______________________________________________________________
           4                                      * * * * *

09:45:57   5               (Court called to order)

09:46:01   6               THE COURT:    Be seated, please.

09:46:04   7               One preliminary matter before we bring the jury in,

09:46:07   8    yesterday there was some discussion about a witness, I don't

09:46:12   9    even remember his name, that Plaintiff said had not been

09:46:15 10     disclosed.    It appears that Plaintiff had that witness listed

09:46:23 11     and the defense said me too.       I think that's disclosure.      If

09:46:26 12     somebody could tell me otherwise and give me some case law, I'd

09:46:29 13     be happy to hear it, but I don't know of any case law that says

09:46:32 14     that that's not disclosure.

09:46:38 15                MR. RIOPELLE:    So Your Honor, this Court required that

09:46:44 16     the parties file preliminary witness lists.         So Mr. Rivera was

09:46:49 17     not on their initial disclosures, and then when we filed

09:46:57 18     preliminary witness lists I believe in September of --

09:46:58 19                THE COURT:    Whenever it was.

09:47:01 20                MR. RIOPELLE:    November of 2018, we, out of an

09:47:02 21     abundance of caution because we knew Mr. Rivera was a part

09:47:10 22     owner, we put him on there, they did not put him on there that

09:47:16 23     yes, they did have the catchall.       We then, in December of 2018,

09:47:19 24     took Mr. Calabrese's deposition.       Based on that deposition, it

09:47:24 25     did not appear that Mr. Rivera was a person of importance in


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09:47:31   1    this case.    And so when it came time to get ready for the trial,

09:47:33   2    the first scheduled trial in this case in September of 2019, we

09:47:37   3    did not put him on our witness list.         They did not put him on

09:47:41   4    their witness list and then when we came to get ready for this

09:47:44   5    trial on the witness list they filed, I believe on March 14,

09:47:49   6    2022, they did not put him on the witness list, we did not put

09:47:54   7    him on the witness list.      And I would refer, Your Honor -- and I

09:47:55   8    think I have the case --

09:47:59   9               THE COURT:    Give me the case.     That's what I asked for.

09:48:05 10                MR. SCHWARTZ:    Do you have a copy, Brian?

09:48:09 11                MR. RIOPELLE:    I do not.    This is highlighted, it's the

09:48:15 12     National Union Fire case versus Tyco decided by Judge Bloom in

09:48:23 13     this courthouse, it had a cite of 2015 Westlaw 11251736 in which

09:48:23 14     --

09:48:26 15                THE COURT:    We could probably find it.      She's right

09:48:27 16     across the hall.

09:48:30 17                MR. RIOPELLE:    Right.   What she decided, or she made --

09:48:33 18     because it was not disclosed and because the depositions did not

09:48:41 19     indicate that the witness was going to be a prominent witness,

09:48:48 20     she disallowed the late designation of the witness.          And I will

09:48:52 21     note that in her case, the disclosure of the witness was much

09:48:57 22     before this one.     They did not tell us that Mr. Rivera was going

09:49:01 23     to be a witness in this case until the meet and confer we had

09:49:09 24     with them on Friday after the Court's calendar call.          And what I

09:49:12 25     would have expected them to do is when this Court found out


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09:49:15   1    Mr. Calabrese was not going to be here and ruled that he was not

09:49:18   2    going to be able to testify remotely, they could have stood up

09:49:21   3    in front of this Court and said well then, Your Honor we would

09:49:25   4    like to bring Mr. Rivera.         They did not do that.     They just

09:49:27   5    disclosed it there, we told them that we would object and

09:49:31   6    they've not -- we're the ones who are having to raise it with

09:49:32   7    the Court.

09:49:34   8               THE COURT:     All right.    Let me look at Judge Bloom's

09:49:37   9    opinion and I'll discuss it with you further.         But I just wanted

09:49:40 10     to tell you what I was thinking at this point.            Okay.   Can we

09:49:44 11     bring the jury in?       Please bring in the jury.

09:49:45 12                COURT SECURITY OFFICER:        All rise for the jury.

09:49:51 13                MR. RIOPELLE:     Your Honor, we do have some exhibit

09:49:51 14     issues.

09:49:56 15                THE COURT:     Wait.    Don't bring in the jury yet.      If he

09:50:00 16     brings in the jury, we'll take those up later but if you can,

09:50:04 17     put them back in.       Put the cork back in the bottle.

09:50:14 18                Be seated, please.

09:50:24 19                Let's see what we're talking about.        I may or may not

09:50:25 20     need it.

09:50:26 21                MR. SCHWARTZ:     Excuse me, Your Honor.       I thought the

09:50:29 22     protocol typically is whoever starts the witness finishes the

09:50:36 23     witness, not switching batters in the middle of the game.

09:50:39 24                MR. RIOPELLE:     She's going to take the witness.

09:50:39 25                MR. SCHWARTZ:     All right.


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09:50:42   1                THE COURT:     Sorry.    What is it?   What's the reason?

09:50:44   2                MR. RIOPELLE:     He's objecting to me arguing these

09:50:47   3    exhibits.    I was saying I'm arguing the witness, I'm not taking

09:50:48   4    the witness.

09:50:54   5                THE COURT:     Okay.    Let's hear about the exhibits.

09:50:55   6    What's the problem.

09:50:57   7                MR. RIOPELLE:     We intend, with Mr. Shaughnessy, to

09:51:02   8    offer Plaintiff's Exhibit 13.         This is sales data showing sales

09:51:04   9    of --

09:51:06 10                 THE COURT:     Put it on my screen so I know what you're

09:51:08 11     talking about?

09:51:10 12                 MR. RIOPELLE:     Can you put up 13?

09:51:12 13                 THE COURT:     Okay.    What's the objection?

09:51:15 14                 MR. KERNELL:     Your Honor, there's no -- the underlying

09:51:19 15     data, there's no underlying data to authenticate or to figure

09:51:23 16     out what this -- these sales data is.          There's no -- absolutely

09:51:31 17     no tie to this with this exhibit.         It's undated, the source.       It

09:51:36 18     doesn't have any tie to Nextel or, in fact, it doesn't even tie

09:51:41 19     to Sprint in any way whatsoever.         These are just numbers that

09:51:44 20     someone put in a spreadsheet.         We don't know where they came

09:51:46 21     from, we don't have --

09:51:48 22                 THE COURT:     Well, I assume somebody is going to tell us

09:51:50 23     where they came from.       I would assume they're not just going to

09:51:53 24     offer it without some substantiation.

09:51:57 25                 MR. KERNELL:     We have to be under -- I think it's Rule


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09:52:00   1    602, we have to be provided with the data, all the underlying

09:52:04   2    data that -- where these numbers come from.         We don't have that

09:52:06   3    data.

09:52:10   4                MR. RIOPELLE:     And Your Honor, we produced the Excel

09:52:13   5    data in the discovery that had the underlying data.

09:52:15   6                MR. SCHWARTZ:     An Excel spreadsheet is not the

09:52:20   7    underlying data.     We need to see all the invoices for all these

09:52:22   8    numbers.    That should have been produced, it has not been

09:52:26   9    produced.    And that's what the rule requires, that all the

09:52:33 10     underlying data has to be provided before you use a summary.

09:52:37 11     Actually the next exhibit is even worse.

09:52:39 12                 THE COURT:     Rule on summaries.

09:52:46 13                 MR. RIOPELLE:     1006, I believe.

09:52:50 14                 THE COURT:     Yeah, I know.   It's not 602.06.

09:52:52 15                 MR. RIOPELLE:     And I would say one thing, Your Honor.

09:52:54 16                 MR. KERNELL:     It's 1006.

09:52:56 17                 THE COURT:     Okay.

09:52:58 18                 MR. RIOPELLE:     As you're looking at 1006, I would say

09:53:02 19     this is not a summary.       This actually comes directly from

09:53:07 20     Sprint's sales records out of their operating system.

09:53:10 21                 THE COURT:     Okay.   So this is not a summary, this is a

09:53:19 22     -- well, set up the foundation out of the presence of the jury

09:53:22 23     right now and let's see what -- where it goes.

09:53:24 24                 MR. RIOPELLE:     All right.   Do you want to do those now

09:53:26 25     or do you want me to go to the other exhibits?


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09:53:29   1                THE COURT:   No, let's do this one right now so we can

09:53:31   2    deal with it.

09:53:36   3                     EXAMINATION OUTSIDE PRESENCE OF JURY

09:53:36   4         BY MS. WHEATLEY:

09:53:42   5    Q.   So Mr. Shaughnessy, are you familiar with this document on

09:53:43   6    the screen?

09:53:44   7    A.   I'm familiar with it.

09:53:49   8    Q.   And where does the data shown in here come from?

09:53:54   9    A.   Comes from our billing system, our RISE billing system.          I

09:53:57 10     don't know what RISE stands for, but it's the system that keeps

09:54:00 11     all of our data.

09:54:03 12     Q.   And were you able to confirm if these numbers are accurate?

09:54:06 13     A.   Yes.

09:54:09 14                 THE COURT:   The question is did they have access to the

09:54:15 15     same records, did you provide them with this information before

09:54:16 16     today.

09:54:18 17                 MS. WHEATLEY:   Yes, Your Honor.     This information was

09:54:19 18     provided in discovery.

09:54:20 19                 THE COURT:   In what manner?

09:54:23 20                 MR. RIOPELLE:   We provided this underlying data, the

09:54:27 21     spreadsheet, and they did not ask for all of our invoices for

09:54:31 22     each individual sale.

09:54:34 23                 THE COURT:   When is the first time they saw this

09:54:35 24     particular document?

09:54:38 25                 MS. WHEATLEY:   No, it's not the first time, this was


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09:54:39   1    produced in discovery.

09:54:41   2               THE COURT:     The question is when?     When is the first

09:54:44   3    time they saw this particular document?

09:54:46   4               MS. WHEATLEY:     Gosh, I think it was created in 2018 so

09:54:51   5    I would assume it was produced in 2018 or early 2019.          It was

09:54:55   6    also in the summary judgment motion.

09:54:58   7               THE COURT:     All right.    Tell me, you have any questions

09:55:02   8    on the foundation?

09:55:04   9               MR. KERNELL:     Yes, Your Honor.

09:55:05 10                THE COURT:     Okay.   Go.

09:55:08 11                MR. KERNELL:     So this is not -- they didn't make the

09:55:11 12     originals, they didn't make duplicates, they didn't make

09:55:15 13     anything available, this is under Rule 1006, they didn't provide

09:55:19 14     anything for us to go and verify the documents.          This was first

09:55:22 15     used in their motion for summary judgment.          There was no

09:55:27 16     underlying data, they didn't give us any invoices, they didn't

09:55:29 17     show us anything from their billing system whatsoever.             This was

09:55:33 18     after all the depositions were taken.          So we don't have any idea

09:55:38 19     what these numbers are, where they came from.          And as part of --

09:55:43 20     if you are going to use this as a summary, you have to provide

09:55:48 21     those documents, the underlying documents, the invoices, the

09:55:52 22     bills, all those things, you have to provide that to opposing

09:55:54 23     counsel before it's used.

09:55:57 24                MS. WHEATLEY:     Your Honor, if I may address that

09:55:57 25     quickly?


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09:55:59   1               THE COURT:     Go ahead.

09:56:00   2               MS. WHEATLEY:     It is not correct that this was first

09:56:03   3    provided at summary judgment.         This was provided in discovery

09:56:06   4    and was available for the depositions.

09:56:11   5               MR. KERNELL:     What's the Bates stamp?

09:56:13   6               MR. RIOPELLE:     We can find it if you want the Bates

09:56:14   7    stamp.

09:56:16   8               MS. WHEATLEY:     Because we provided it in its original

09:56:19   9    native form, the PDF is not stamped.         But the original native

09:56:22 10     that we provided which that is this document is stamped.

09:56:24 11                MR. KERNELL:     Where is the underlying data that

09:56:27 12     supports this?     That's what the rule requires.       The underlying

09:56:31 13     data that supports it, not just a summary.         Anybody can put

09:56:36 14     together a spreadsheet and say oh yeah, this is what we have.

09:56:41 15     We have no way to authenticate or verify any of these.

09:56:43 16                MS. WHEATLEY:     Your Honor, Defendants had a full

09:56:47 17     opportunity to authenticate and verify this.          This is the

09:56:50 18     underlying data.     This is pulled directly, as Mr. Shaughnessy

09:56:54 19     testified, from Sprint's sales records.

09:56:56 20                MR. KERNELL:     Your Honor, we've never been given access

09:57:00 21     to Sprint's sales records in any way, shape, or form.

09:57:05 22                MS. WHEATLEY:     Defendants never requested access to

09:57:07 23     Sprint's sales database.

09:57:08 24                THE COURT:     Don't you have to ask for them?     I mean,

09:57:10 25     you got the summary at some point; is that correct?          When did


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09:57:13   1    you get this summary?

09:57:15   2              MR. KERNELL:     I don't recall this before the motion for

09:57:19   3    summary judgment.      Which is after the close of discovery.

09:57:21   4              MS. WHEATLEY:     Your Honor, this was produced in

09:57:22   5    discovery.

09:57:23   6              MR. KERNELL:     What date please?

09:57:25   7              MS. WHEATLEY:     They do not have an objection to this

09:57:28   8    based on the fact this was produced after the close of

09:57:28   9    discovery.

09:57:30 10               MR. SCHWARTZ:     What date, Ms. Wheatley?

09:57:32 11               MR. KERNELL:     There's not a Bates number on here so --

09:57:34 12               MR. RIOPELLE:     There is a Bates number right here.

09:57:39 13               MS. WHEATLEY:     It's 2866.    SPR 2866.

09:57:41 14               MR. RIOPELLE:     Our exhibit list lists the Bates number

09:57:43 15     on it, Your Honor.

09:57:44 16               MS. WHEATLEY:     But I note that they did not object that

09:57:51 17     this was not produced during discovery because it was.

09:57:56 18               MR. KERNELL:     We're objecting under Rule 1006 as not

09:57:57 19     supported by any underlying originals --

09:58:08 20               THE COURT:     I suppose we could extend this dog and pony

09:58:11 21     show by requiring them to show all of the original documents in

09:58:19 22     court which 1006 contemplates.      Seems like a lot of trouble.      I

09:58:23 23     think it's admissible.      I think the question is whether you have

09:58:34 24     access, whether they made the originals available for

09:58:38 25     examination by the other parties.        I don't think that


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09:58:40   1    contemplates them having to ask for it, I think that

09:58:44   2    contemplates you telling them we're going to use this as a

09:58:48   3    summary and here the originals are, you can come look at them

09:58:49   4    next week in our offices or something.

09:58:51   5               MS. WHEATLEY:     Your Honor, I just want to be clear,

09:58:55   6    this is not a summary.       This is pulled directly from the

09:58:55   7    records.

09:58:57   8               THE COURT:     Okay.     So this is an Excel spreadsheet that

09:59:02   9    is in the records of the Plaintiff?

09:59:03 10                MS. WHEATLEY:     Yes.

09:59:05 11                MR. KERNELL:     So Your Honor, if I could, the very first

09:59:11 12     -- let's look at access revenue -- ARPU revenue.          It has a

09:59:16 13     number of $4,330,464.

09:59:19 14                THE COURT:     You're not really anywhere near a

09:59:22 15     microphone.    I don't know where you put them.

09:59:25 16                MR. KERNELL:     The top line under 2013 has a $4.3

09:59:30 17     million number.     That is a summary.      That is a number that is

09:59:34 18     calculated from somewhere or just entered.         To say this is not a

09:59:37 19     summary, I mean, this is absolutely and that's what they

09:59:41 20     originally came in and said no, this is a summary of our

09:59:43 21     business records.       But the underlying business records as

09:59:46 22     required by the rule have not been produced.          They have not been

09:59:50 23     shown to us that we can verify these numbers.

09:59:51 24                MS. WHEATLEY:     And actually Your Honor, there is

09:59:55 25     another document on our exhibit list that does go through the


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10:00:00   1    sales in a more granular fashion.       I mean, we could use that one

10:00:01   2    instead.

10:00:03   3               THE COURT:   I don't know that you have to if it's been

10:00:05   4    produced to them already.

10:00:06   5               MS. WHEATLEY:   Yes, it has.

10:00:08   6               THE COURT:   What is it?

10:00:12   7               MS. WHEATLEY:   We can pull it up.     It goes through the

10:00:16   8    source of the particular sales.

10:00:18   9               THE COURT:   Tell me where it is so that -- if you don't

10:00:23 10     know where it is, how are they supposed to know where it is?

10:00:25 11                MR. RIOPELLE:   We're calling it up.     We're firing up

10:00:35 12     the computer here to look for it.

10:01:04 13                (Counsel conferring)

10:01:07 14                THE COURT:   All right.    Who is going to testify -- if

10:01:12 15     this is coming in, it would be under 803.6, correct?         Records of

10:01:15 16     regularly conducted activity?

10:01:16 17                MR. RIOPELLE:   Yes, Your Honor.

10:01:19 18                THE COURT:   Who is going to testify as to whether this

10:01:21 19     is -- then ask the questions, because I haven't heard those

10:01:24 20     questions asked.    Is this something that is, well, whatever

10:01:28 21     803.6 A, B and C say?

10:01:30 22                MS. WHEATLEY:   Of course, Your Honor.

10:01:30 23          BY MS. WHEATLEY:

10:01:34 24     Q.   Mr. Shaughnessy, does Sprint regularly maintain records of

10:01:37 25     its sales activity for the devices it sells?


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10:01:37   1    A.   Yes.

10:01:40   2    Q.   And where does it maintain those records?

10:01:42   3    A.   In our RISE billing system.

10:01:48   4    Q.   Okay.     And how was this report generated that's on your

10:01:48   5    screen?

10:01:52   6    A.   I believe the finance team generates it using their software

10:01:56   7    package and pulls the data right out of our RISE billing system.

10:02:01   8    The software package is called MAP, if I'm not mistaken.

10:02:04   9                 MS. WHEATLEY:    Thank you, sir.

10:02:15 10                  THE COURT:     Why is it not 8,036?

10:02:18 11                  MR. KERNELL:     Your Honor, because this is not a record

10:02:23 12     that's regularly kept.         This is a summary of records that.

10:02:25 13                  THE COURT:     I don't think it is.    If it's a spreadsheet

10:02:30 14     that's in their records, they say that it is regularly kept.

10:02:32 15                  MR. KERNELL:     Your Honor, this was created specifically

10:02:35 16     for this case.

10:02:37 17                  THE COURT:     That's not what they said.    That's not what

10:02:40 18     this gentleman said.         I mean, that's what you said.     That's not

10:02:43 19     what they said.

10:02:46 20                  MR. KERNELL:     Well Your Honor, if I could cross-examine

10:02:46 21     this gentleman?

10:02:48 22                  THE COURT:     I gave you the opportunity, I said what --

10:02:54 23     they took their turn at authenticating it and I said your turn

10:02:59 24     and now ask the questions.         Let him have the lectern.

10:03:01 25                                     CROSS-EXAMINATION


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10:03:01   1         BY MR. KERNELL:

10:03:07   2    Q.   Mr. Shaughnessy, was this particular exhibit created for

10:03:08   3    this case?

10:03:11   4    A.   I believe it was created for this case.

10:03:15   5    Q.   Okay.    And so -- and the underlying data, there are invoices

10:03:19   6    that come in that are entered into the system?

10:03:24   7    A.   You're getting a little technical on me there, but there's

10:03:27   8    certainly generated reports out of RISE, which is our billing

10:03:29   9    system, that would pull the information in.        That would include

10:03:33 10     the revenue billed, it would include the minutes of use, it

10:03:38 11     would include model of the phone, it would include customer

10:03:40 12     information such as name, billing address, telephone number, how

10:03:42 13     the devices were used from a data-session perspective, and any

10:03:46 14     other billing accessory revenue, things like that that would go

10:03:48 15     through it.    And it would pull into our RISE billing system, and

10:03:50 16     that would generate a bill.      And those bills then would

10:03:53 17     aggregate from a finance perspective and we would manage the

10:03:57 18     business either through, you know, we can extract the data

10:04:00 19     however we want to extract the data as far as, you know, how we

10:04:03 20     want to look at the reports.      Is it geographical?     Is it by

10:04:08 21     device?   Is it by sales professional?      Is it by channel?     So we

10:04:13 22     have retail and business direct.       So yeah.

10:04:17 23     Q.   If I could, so this -- these types of charts are created

10:04:20 24     based on the questions, the queries that you make to a database

10:04:26 25     so that you manipulated or you generate the type of report that


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10:04:28   1    you would like to use?

10:04:32   2    A.   Yes, we do query the RISE database to pull reports.

10:04:36   3    Q.   And so all these bills that go out, the bills that come in

10:04:40   4    or the invoices coming in, bills that go out, there's all --

10:04:43   5    there's a lot of underlying data that goes into this report

10:04:49   6    which is a summary of all that activity somewhere in Sprint.

10:04:50   7    A.   Yeah, that's a fair assessment.

10:04:53   8              THE COURT:    All right.     I do not believe that it meets

10:05:00   9    the criteria for 803, or -- excuse me 603 -- I'm sorry 803.6, A

10:05:03 10     B or C, it's not admissible under that.        I don't think it's

10:05:08 11     admissible as a summary either because it's -- I do not think

10:05:11 12     that anybody has made any effort to offer the underlying

10:05:16 13     exhibits to the Defendant.      Therefore, I will not permit this to

10:05:18 14     come in at this time.     I suspect that there are ways that it

10:05:22 15     could come in, but I haven't heard it articulated yet so move to

10:05:28 16     the next document please.      I'll sustain the objection.

10:05:31 17               MR. RIOPELLE:    Next document would be Exhibit 14, Your

10:05:34 18     Honor, but I assume that based on your ruling on 13 it's going

10:05:35 19     to be the same.

10:05:38 20               THE COURT:    I don't know what 14 is.     Okay then, you're

10:05:42 21     conceding that it's the same.        Let's move on then.   So same

10:05:44 22     ruling then.

10:05:50 23               MR. RIOPELLE:    The next exhibit is Exhibit 38.       They're

10:05:59 24     objecting to us using the box which we -- one of the boxes, one

10:06:02 25     of the devices that has Nextel on it.


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10:06:04   1              THE COURT:     All right.    Tell us what the objection is.

10:06:15   2    Now please.    Any time.   Object.

10:06:17   3              MR. KERNELL:     We're trying to figure -- this figure

10:06:18   4    out.

10:06:21   5              THE COURT:     They showed it to you yesterday, didn't

10:06:22   6    they?

10:06:24   7              MR. KERNELL:     I don't know we didn't see this

10:06:24   8    yesterday.

10:06:26   9              MR. RIOPELLE:     Pictures of the box have been produced,

10:06:27 10     they've been used.

10:06:31 11               THE COURT:     I saw it.    I don't know why you didn't --

10:06:33 12               MR. KERNELL:     No, it's a different box.     That was our

10:06:36 13     box not their box.

10:06:38 14               THE COURT:     I kind of remember seeing this, but go

10:06:43 15     ahead.   Look at it and tell us what the objection is.

10:06:49 16               MR. KERNELL:     So because this is the first time we've

10:06:51 17     actually seen this physical --

10:06:52 18               THE COURT:     I don't need to hear a speech.     Just tell

10:06:53 19     me.

10:06:55 20               MR. KERNELL:     We don't object to it, Your Honor.

10:06:57 21               THE COURT:     Okay.   That's what I want.    Move on.   No

10:07:01 22     objection to 38.

10:07:03 23               MR. KERNELL:     Your Honor, I'm sorry to interrupt.      Just

10:07:04 24     one more final housekeeping.

10:07:07 25               THE COURT:     Wait.   Is there more exhibits?


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10:07:11   1              MR. RIOPELLE:     Yes, Your Honor.    They've indicated this

10:07:15   2    will be on their exhibit list, they've indicated they're going

10:07:20   3    to use Exhibit 5206.

10:07:23   4              THE COURT:     Okay.

10:07:27   5              MR. RIOPELLE:     We object on relevance.

10:07:30   6              THE COURT:     I don't know what 5006 is.

10:07:33   7              MR. RIOPELLE:     5206.

10:07:34   8              THE COURT:     5206?

10:07:35   9              MR. RIOPELLE:     Yes, Your Honor.

10:07:37 10               THE COURT:     Is that it on the screen?

10:07:37 11               MR. RIOPELLE:     Yes, Your Honor.

10:07:40 12               THE COURT:     Okay.   Why is this admissible?

10:07:42 13               MR. KERNELL:     Your Honor, that's an SEC filing that

10:07:50 14     Sprint made that removed them from the reporting requirements

10:07:55 15     for the SEC because they're no longer a publicly traded company.

10:07:58 16     That's with the merger with T-Mobile, this is what was filed so

10:08:01 17     that Sprint no longer exists except under T-Mobile.

10:08:04 18               THE COURT:     And why is this not admissible?

10:08:06 19               MR. RIOPELLE:     First it's irrelevant.     This is talking

10:08:13 20     about SEC filings and taking specific types of bonds, and taking

10:08:18 21     them off the registration of filing with the SEC that does not

10:08:22 22     mean that Sprint corporation doesn't exist, it means that Sprint

10:08:27 23     no longer has SEC filing requirements under the securities laws

10:08:28 24     because it's part of T-Mobile.

10:08:31 25               THE COURT:     What is the jury supposed to gather from


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10:08:33   1    this?

10:08:37   2               MR. KERNELL:     Your Honor, this is when T-Mobile took

10:08:45   3    over and bought Sprint.      Sprint is gone and this is in the whole

10:08:52   4    the process of Sprint -- Nextel went away, Sprint's gone away

10:08:56   5    and it's just the continuous process to show the abandonment of

10:08:56   6    these --

10:09:01   7               THE COURT:     This doesn't abandon anything.

10:09:04   8               MR. KERNELL:     Not by itself.   This shows the

10:09:07   9    termination of Sprint Corporation.       They don't even file with

10:09:10 10     the SEC anymore.

10:09:10 11                MR. RIOPELLE:     That doesn't mean --

10:09:13 12                THE COURT:     So what does that matter?

10:09:15 13                MR. KERNELL:     This is just the evidence of it.

10:09:17 14     Otherwise, I'm just telling them.

10:09:18 15                THE COURT:     Do you have to be filing with the SEC to

10:09:20 16     own a trademark?

10:09:22 17                MR. KERNELL:     No, you don't have to file with the SEC.

10:09:24 18                THE COURT:     Then what's the difference?

10:09:26 19                MR. KERNELL:     But this is evidence to show that even --

10:09:28 20                THE COURT:     I think it's misleading and I don't think

10:09:31 21     it's admissible.    I'll sustain the objection to this.

10:09:33 22                What else you got?

10:09:39 23                MR. RIOPELLE:     Next one, Your Honor, is Exhibit 5226.

10:09:41 24                THE COURT:     What is it?

10:09:45 25                MR. RIOPELLE:     It is a petition to renew Nextel


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10:09:51   1    trademark that is not at issue in this case.        It is irrelevant

10:09:56   2    to the two trademarks that we are asserting in this case.

10:10:00   3              THE COURT:     What is the purpose of this?

10:10:08   4              MR. KERNELL:     Your Honor, if I may, this trademark was

10:10:13   5    asserted in this case.      This is one of the trademarks.      There

10:10:17   6    were two Nextel trademarks that were originally filed against

10:10:22   7    our client.    Both of them are Nextel.     One was for

10:10:28   8    telecommunications services, one is for the actual devices.

10:10:34   9    Then they amended the complaint and they add in the sound mark.

10:10:39 10     This was absolutely in the case.       Then while the case -- and we

10:10:42 11     filed this with the Court in a status conference saying these

10:10:48 12     marks are gone abandoned.      They let this mark go abandoned and

10:10:52 13     then they tried to revive it.      They made representations to the

10:10:57 14     trademark office.      This is absolutely relevant to the dealings

10:11:01 15     with the Patent and Trademark Office, all the other filings that

10:11:04 16     they've done for these marks have all been entered.         There's

10:11:08 17     been no objection to them whatsoever.       But they made

10:11:12 18     representations in the middle of our case to the Patent and

10:11:15 19     Trademark Office through these filings.

10:11:20 20               THE COURT:     What is -- you say it's a different

10:11:21 21     trademark?

10:11:23 22               MR. KERNELL:     No, it's the Nextel Trademark 139.

10:11:25 23               THE COURT:     I'm asking him.   You say it's a different

10:11:26 24     trademark, what is it?

10:11:28 25               MR. RIOPELLE:     Yes, Your Honor.    This is registration


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10:11:33   1    Number 163139.       It is not one of the ones we are asserting here

10:11:37   2    at trial, we're asserting, I believe it's Number 244 then, the

10:11:42   3    chirp mark.    This is not being asserted here now.       They're doing

10:11:46   4    it purely to mislead the jury.       It's irrelevant.

10:11:49   5               THE COURT:     Why is this relevant at all?

10:11:51   6               MR. KERNELL:     This goes to our defense of abandonment.

10:11:56   7    They continued to abandon Nextel trademarks.        This is --

10:11:59   8               THE COURT:     They may, but they're not after every

10:12:02   9    Nextel trademark, they're after a particular one with whatever

10:12:03 10     the heck that number was.

10:12:09 11                MR. KERNELL:     Your Honor, in this case, the trademark

10:12:12 12     -- and if I could put on the ELMO?

10:12:20 13                THE COURT:     Sure.

10:12:29 14                MR. KERNELL:     This is from Paragraph 26 of the

10:12:38 15     complaint, actually the first amended complaint, Nextel, the

10:12:44 16     139.    That's exactly what they then filed with the trademark

10:12:50 17     office to try and revive or reinstate.       They had every intention

10:12:54 18     of enforcing or asserting this mark.       They tried to reinstate

10:12:56 19     it.    And they --

10:12:58 20                THE COURT:     But I thought he said they're not doing

10:12:59 21     this in this case.

10:13:03 22                MR. KERNELL:     This is going to our abandonment defense.

10:13:06 23                THE COURT:     How can they abandon something -- they're

10:13:09 24     not trying to get this one, they're saying that they're not

10:13:10 25     seeking this one.


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10:13:16   1              MR. KERNELL:     They have abandoned, over time, 55 Nextel

10:13:17   2    trademarks.

10:13:20   3              THE COURT:     Okay.   And they're not suing for those.

10:13:23   4              MR. KERNELL:     No.   It goes to abandonment.    It shows

10:13:28   5    that they don't have any intent to use these.        It's one of the

10:13:32   6    elements in our abandonment defense.        If we cannot bring in --

10:13:35   7              THE COURT:     What does this make more or less true with

10:13:37   8    relation to this case?

10:13:39   9              MR. KERNELL:     Abandonment, and it goes to fraud on the

10:13:44 10     trademark office.      The statements that they made in this

10:13:48 11     petition to the Patent and Trademark Office, along with what

10:13:59 12     they did before, it shows a continuing effort by Sprint to

10:14:03 13     defraud the Patent and Trademark Office.

10:14:06 14               THE COURT:     I know that's the why you characterize it,

10:14:09 15     but I'm not sure that's a fair characterization.         The bottom

10:14:10 16     line is they are not.

10:14:11 17               MR. KERNELL:     The evidence will show that.

10:14:13 18               THE COURT:     Okay.   Can I talk now?

10:14:13 19               MR. KERNELL:     I'm sorry.

10:14:17 20               THE COURT:     Okay.   They are saying that they are not

10:14:24 21     pursuing 1,637,139 in this case.        How does the fact that at one

10:14:28 22     point they asked for it to be extended move the ball in this

10:14:31 23     case?

10:14:34 24               MR. KERNELL:     The way it moves the ball in this case is

10:14:39 25     it establishes that fraud on the trademark office.


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10:14:40   1                THE COURT:     Okay.

10:14:43   2                MR. KERNELL:     Stop using pejorative terms.     Tell me

10:14:45   3    what the jury is supposed to draw from the fact that at some

10:14:49   4    point they asked the Securities and Exchange Commission or

10:14:54   5    Patent and Trademark Office, excuse me, that they wanted to

10:14:56   6    extend 139.

10:14:58   7                MR. KERNELL:     Yes, and then along with that they filed

10:15:01   8    documents with that application.           They filed documents and they

10:15:05   9    made representations that those were current documents.           They

10:15:08 10     were not current documents.           And what happened before, and they

10:15:14 11     asked Mr. Kaplan about this, saying so what your representation

10:15:21 12     to the Patent and Trademark Office, you have a duty to -- under

10:15:28 13     perjury, to the truth of what you're submitting to the Patent

10:15:31 14     and Trademark Office.       They rely on it because you have a

10:15:33 15     declaration.    You have sworn --

10:15:35 16                 THE COURT:     That had to do with the statements that he

10:15:35 17     made.

10:15:37 18                 MR. KERNELL:     Right.     And so they asked him that, we

10:15:41 19     are asking Sprint the same thing because they file a trademark

10:15:42 20     office --

10:15:44 21                 THE COURT:     The statements that he made were in

10:15:47 22     relation to the trademarks involved in this case.           This does not

10:15:49 23     appear to be.

10:15:51 24                 MR. KERNELL:     Yes, this is one of the Nextel trademarks

10:15:52 25     that is involved in this case.


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10:15:54   1              THE COURT:        139 is?

10:15:55   2              MR. KERNELL:        Yes, it was.

10:15:57   3              THE COURT:        It was, but it isn't.

10:15:59   4              MR. KERNELL:        But it is still part of their --

10:16:00   5              THE COURT:        No.

10:16:02   6              MR. KERNELL:        Of their fraud on the trademark office.

10:16:06   7              THE COURT:        No, it is not.        That's not admissible.

10:16:11   8    Poisoning the well.        It has nothing to do with what is going on

10:16:15   9    in this case right now.            I'll sustain the objection to 5226.

10:16:18 10               Next?

10:16:20 11               MR. RIOPELLE:           I believe that your ruling now would

10:16:25 12     take care of the next one, Your Honor, but 5227 was our response

10:16:31 13     on that one to the USPTO.            But it goes to the same matter and is

10:16:32 14     irrelevant for the same reasons.

10:16:35 15               THE COURT:        Same ruling.        Next?

10:16:36 16               MR. RIOPELLE:           That's all we have, Your Honor.

10:16:37 17               THE COURT:        All right.     Is there anything else before

10:16:39 18     we bring the jury in?

10:16:45 19               Wait.        The brains of the outfit is telling you what to

10:16:46 20     do.   Tell me.

10:16:53 21               MR. RIOPELLE:           No kidding.     Can we call up Exhibit 131

10:16:54 22     please?

10:17:10 23               THE COURT:        131.     Are we on the ELMO?     Is that what the

10:17:12 24     problem is?      Oh.

10:17:13 25               MR. RIOPELLE:           This, Your Honor, is the underlying data


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10:17:20   1    on the sales of the -- for the Exhibits 13 and 14 that we were

10:17:23   2    talking about earlier.

10:17:25   3                THE COURT:     Why are you showing me this?

10:17:27   4                MR. RIOPELLE:     To show that we have, in fact, produced

10:17:32   5    to them and have on our exhibit list the underlying data.

10:17:36   6                THE COURT:     Is this the underlying data to the other

10:17:37   7    exhibits?

10:17:50   8                MR. RIOPELLE:     Yes.

10:17:53   9                MR. KERNELL:     Your Honor, there's no sales numbers on

10:17:58 10     this page.    There's no -- they don't tie to any invoices, they

10:18:04 11     don't tie it to any bills.           Mr. Shaughnessy just testified that

10:18:07 12     there are bills that come in, there's invoices that come in,

10:18:12 13     there's bills that go out, there's customer data, there's all

10:18:16 14     the information that goes into these -- you know, again, this is

10:18:19 15     a summary of something.       We don't know what it is or what it

10:18:28 16     points to and how it relates to the exhibit that they purport it

10:18:33 17     to be summarized from.       There's no numbers on here in order to

10:18:41 18     -- you know, I don't see any $4.3 million worth of sales,

10:18:45 19     there's not even a dollar amount on this.           This can't be the

10:18:50 20     complete summary of that or the complete basis of that summary.

10:18:53 21                 MR. RIOPELLE:     I would just say the underlying data

10:18:57 22     they're not claiming that they wanted, that they never asked

10:18:59 23     for, would have literally been --

10:19:01 24                 THE COURT:     They don't have to ask for it.     You have to

10:19:02 25     give it to them.


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10:19:04   1                MR. RIOPELLE:    Would have literally been hundreds of

10:19:06   2    thousands of pages of documents.

10:19:08   3                THE COURT:    Should have been given to them.    The rule

10:19:12   4    says that for there to be a summary, the other material must be

10:19:16   5    available to them.       That doesn't mean that they have to ask you

10:19:16   6    for it.

10:19:18   7                MR. RIOPELLE:    Well, it would have been available.

10:19:22   8    They would have had to come to our offices at Sprint and

10:19:26   9    T-Mobile.    It was available to them, they just never asked for

10:19:30 10     it.   But it was certainly available to them.       Under the 1006 of

10:19:35 11     the rule, it was available to them.       They just never asked for

10:19:37 12     it because they never wanted it because they don't want the

10:19:44 13     sales data in because they don't want to show that we've been

10:19:47 14     selling this, so that we've been using the trademark.

10:19:54 15                 THE COURT:    You'll have to show it some other way next.

10:19:55 16                 MR. SCHWARTZ:    Your Honor, based on representations in

10:19:59 17     open court by the Plaintiffs, the Defendants move under Rule

10:20:01 18     50(a)(2) for judgment as a matter of law, that there's no in

10:20:03 19     infringement as to the Defendants as to any issues related to

10:20:07 20     the 1,637,139 trademark in this case.

10:20:10 21                 THE COURT:    You want to do this now before they rest?

10:20:11 22                 MR. SCHWARTZ:    That's what the rule --

10:20:13 23                 THE COURT:    How many times do you think you can do it?

10:20:15 24                 MR. SCHWARTZ:    The rule says that on this issue --

10:20:19 25     they've just stated as to that issue, so we're clear that,


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10:20:24   1    they're not seeking anything concerning that particular

10:20:24   2    trademark.

10:20:27   3              THE COURT:    As to 136.

10:20:29   4              MR. SCHWARTZ:    It's the 1,637,139 trademark.

10:20:34   5              THE COURT:    139, excuse me.    All right.    Is that

10:20:35   6    abandoned?

10:20:39   7              MR. RIOPELLE:    Is it abandoned?     No.   First of all,

10:20:43   8    they're misrepresenting trademark law to you, Your Honor.

10:20:47   9    Trademark rights come from use of the trademark.         If you have a

10:20:52 10     registration, it gives you additional rights.         We are still

10:20:59 11     using the trademark, we still have trademark rights under --

10:21:00 12     that we're using it.

10:21:02 13               THE COURT:    You're not pursuing damages.

10:21:05 14               MR. RIOPELLE:    We're not pursuing it in this case

10:21:10 15     because we don't have the registration.        But we still have

10:21:15 16     rights under that trademark under the law in the United States.

10:21:17 17               MR. SCHWARTZ:    Your Honor?

10:21:17 18               THE COURT:    I'm listening.

10:21:20 19               MR. SCHWARTZ:    Can't have it both ways.      You can't --

10:21:22 20               MR. RIOPELLE:    Actually you can have it both ways

10:21:25 21     because what they've been doing, one of the things -- and this

10:21:29 22     is an issue that may come up on the jury instructions, they're

10:21:31 23     misrepresenting to this jury.

10:21:35 24               MR. SCHWARTZ:    We're not even there yet, Mr. Riopelle.

10:21:37 25               MR. RIOPELLE:    Will you be quiet?     I'm talking.     Thank


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10:21:37   1    you.

10:21:40   2              That you have trademark rights come from use.         You get

10:21:44   3    extra rights with the registration, but you can sue in a federal

10:21:47   4    court in the United States under the Lanham Act if you have an

10:21:51   5    unregistered mark.

10:21:52   6              MR. SCHWARTZ:    Your Honor.

10:21:53   7              THE COURT:    What rule with you traveling under?

10:21:58   8              MR. SCHWARTZ:    Rule 50(a)(2).

10:22:17   9              THE COURT:    Read to me what 50(a)(2) says because my 50

10:22:18 10     doesn't have subheadings.

10:22:21 11               MR. SCHWARTZ:    Motion for judgment as a matter of law

10:22:24 12     may be made at any time before the case is submitted to the

10:22:25 13     jury.   The motion must specify the judgment sought, and the law

10:22:28 14     and the facts that entitle the movant to the judgment.

10:22:32 15               When I said they can't have it both ways, it's because

10:22:36 16     Your Honor just made a specific ruling excluding the use of

10:22:40 17     certain evidence related to the 139 because they said it's not

10:22:46 18     an issue in this case.     So that's the issue.     If they're not

10:22:50 19     seeking any damages, if they're not seeking any claims, and

10:22:54 20     that's what they're stating, then the Defendants are entitled to

10:22:58 21     a judgment as a matter of law.      This is a claim that they

10:23:01 22     brought in the amended complaint.

10:23:02 23               THE COURT:    I'll deny your motion at this point.

10:23:05 24               Next.

10:23:07 25               MR. RIOPELLE:    I believe we're done, right?


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10:23:11   1                 THE COURT:     Okay.   Can we bring the jury in please?

10:23:13   2                 COURT SECURITY OFFICER:      All rise for the jury.

10:23:18   3                 (Jury in at 10:23 a.m.)

10:24:34   4                 THE COURT:     Please be seated.   Sorry to make you wait

10:24:36   5    in the jury room, but I thought it was better than having you

10:24:39   6    sit over there while we huddle in the corner.

10:24:43   7                 Please continue your questioning, ma'am.      You're

10:24:50   8    reminded, sir, that you're still under oath.

10:24:50   9                              CONTINUED DIRECT EXAMINATION

10:24:50 10          BY MS. WHEATLEY:

10:24:54 11     Q.   Mr. Shaughnessy, yesterday you discussed how business

10:24:59 12     marketing was done via meetings and customized solutions.           Do

10:25:04 13     you personally discuss Nextel with customers to market Sprint's

10:25:04 14     businesses services?

10:25:09 15     A.   I do.     When given the chance.      I'm sorry if I yelled that

10:25:11 16     really loud.

10:25:14 17                  THE COURT:     Better loud than not loud.

10:25:14 18          BY MS. WHEATLEY:

10:25:20 19     Q.   I believe through the course of this trial you've also heard

10:25:25 20     Mr. Kohman testify about prioritization.         For the push-to-talk

10:25:29 21     marketed with the Nextel brand, is Sprint able to prioritize the

10:25:30 22     calls of first responders?

10:25:32 23     A.   We are, yes.

10:25:38 24     Q.   And do all companies that offer PTT, push-to-talk, offer

10:25:42 25     that same prioritization service?


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10:25:46   1    A.     No, they can't unless they're integrated into the carrier's

10:25:51   2    network.       As Mr. Kohman testified around the software that's

10:25:54   3    integrated into our network, it's software that's also --

10:25:57   4    collaborates and works with the phones that are engineered for

10:25:59   5    our network.

10:26:03   6    Q.     Now, are you aware of whether the Nextel brand appears on

10:26:05   7    the packaging for rugged devices?

10:26:07   8    A.     I am aware, yes, it does.

10:26:12   9                   MS. WHEATLEY:   Okay.   I'd like to introduce Exhibit 38

10:26:15 10     which had no objections.         Your Honor, may I approach the

10:26:16 11     witness?

10:26:21 12                    THE COURT:   You may.   38 is admitted in evidence.

10:26:21 13                    (Plaintiff's Exhibit 38 in evidence)

10:26:21 14            BY MS. WHEATLEY:

10:26:36 15     Q.     Now, Mr. Shaughnessy, do you recognize what I've just handed

10:26:36 16     you?

10:26:37 17     A.     I do.

10:26:38 18     Q.     What is this?

10:26:49 19     A.     This is a Sonim XP Strike intrinsically safe device.

10:26:52 20     Q.     Can you tell the jury what intrinsically safe means?

10:26:56 21     A.     Intrinsically safe is specifically designed to provide

10:26:59 22     another level of security.         When you're talking about rugged

10:27:03 23     devices, intrinsically safe are very specific devices that when

10:27:06 24     dropped or come apart, like I mentioned yesterday, the rugged

10:27:10 25     devices can come apart to absorb the shock, it doesn't emit a


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10:27:12   1    spark.    And so that's really important in industries like oil

10:27:15   2    refinement, chemical development, manufacturing where you may

10:27:20   3    have a vapor of some sort, that could create an explosion if you

10:27:22   4    drop your equipment.

10:27:27   5    Q.   And do you know what years that Sprint sold the Sonim XP

10:27:29   6    Strike IS?

10:27:33   7    A.   We introduced this in 2013, and we sold it at least through

10:27:38   8    2018, maybe through 2019 as inventory levels remained.

10:27:44   9    Q.   Okay.     And where does Nextel appear on this box?

10:27:51 10     A.   It appears on the back of the box.

10:27:57 11     Q.   Are you able to circle the spots on your screen?

10:28:05 12     A.   There and there.

10:28:09 13     Q.   Now, does Nextel appear anywhere else along with the

10:28:11 14     packaging for this product?

10:28:15 15     A.   It does.     It appears in the start-up guides, I think maybe

10:28:18 16     they call them the easy use start-up guides.

10:28:22 17     Q.   Would you mind unpacking and showing the jury, and we can

10:28:26 18     also flip to an image?

10:28:31 19     A.   I won't be able to put this box back together.        I apologize

10:28:35 20     on behalf of the industry for making these very hard to put back

10:28:42 21     together.     They appear on the back of these user guides.

10:28:45 22     There's one in English and one in Spanish.        Says Nextel Inspired

10:28:49 23     here --

10:28:55 24                  THE COURT:   Is there any reason why the -- I went to

10:29:02 25     touch it to delete that mark and it did this, I love IT people.


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10:29:11   1                 MS. WHEATLEY:     Your Honor, may we put the images up on

10:29:12   2    the screen?

10:29:16   3                 THE COURT:     We can try.   I don't have it, but that

10:29:21   4    doesn't matter.      Do you all have it on your screen?

10:29:25   5                 MS. WHEATLEY:     Can we also show the image of the second

10:29:31   6    catalogue?     That he pointed out?

10:29:35   7                 THE WITNESS:     There you go.   Thank you.

10:29:35   8         BY MS. WHEATLEY:

10:29:42   9    Q.   Now, why include Nextel with this particular device?

10:29:46 10     A.   Well, again as I mentioned yesterday, from a marketing

10:29:52 11     perspective, the ability to connect and keep current the Nextel

10:29:55 12     mark with these particular products and services is a

10:30:01 13     differentiator for us, and it provides that end user and the

10:30:05 14     customer with the knowledge that this is built on that platform,

10:30:09 15     that gold standard that we talked about it, the value that comes

10:30:11 16     with it, the reliability, the instant communications, what

10:30:13 17     they've purchased from us is exactly what they're going to get.

10:30:17 18     So Nextel, obviously very quality mark, very well-regarded in

10:30:20 19     the rugged and PTT space.

10:30:23 20     Q.   And Mr. Shaughnessy, does Sprint do any vetting of the

10:30:30 21     quality of the Sonim XP Strike IS with Nextel on it?

10:30:32 22     A.   We do.     We vet all of the phones that we bring in as what we

10:30:34 23     call tier one inventory, inventory that we stock and sell in our

10:30:38 24     stores, and our through our business-to-business channels.

10:30:43 25     Q.   Okay.     And can you give me generally or give the jury a


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10:30:47   1    general idea of what that vetting process evolves?

10:30:48   2                   MR. KERNELL:     Your Honor, I'm going to object to this

10:30:51   3    as relevance.       What does that have to do with the trademark in

10:30:53   4    this case?

10:30:54   5                   MS. WHEATLEY:     Your Honor, may I respond?

10:30:55   6                   THE COURT:     Yes.

10:30:56   7                   MS. WHEATLEY:     The quality of the goods and services

10:30:59   8    and the difference between the quality has to do with the

10:31:04   9    reputational harm to Sprint and also the damage to the public.

10:31:06 10                    THE COURT:     I'll overrule the objection.     I'll permit

10:31:34 11     it.    I can't make it do anything.            How long does it take reboot?

10:31:37 12     Let's wait until a break then.

10:31:37 13            BY MS. WHEATLEY:

10:31:39 14     Q.     Mr. Shaughnessy, could you give the jury a general idea of

10:31:40 15     what the vetting process is?

10:31:45 16     A.     Sure.     So when we're looking at developing phones, whether

10:31:47 17     they're the rugged phones or any of our phones, there's several

10:31:51 18     things that go into it.              One is manufacture, who we're going to

10:31:56 19     do business with.           Second is specifications, what those need to

10:31:59 20     meet and how they integrate with the network.              So there's

10:32:03 21     software that's in every phone, and every network is different.

10:32:06 22     So you have to be able to ensure that the device works on the

10:32:09 23     network as it's designed, works on other networks as we hand

10:32:12 24     off.    We heard a little bit about roaming over the last couple

10:32:15 25     of days.       Other networks, using your service on other networks.


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10:32:19   1    Then it's got to deliver out of the package the quality that you

10:32:22   2    expect from the actual physical device.

10:32:26   3    Q.   And are there any costs involved in this vetting process?

10:32:30   4    A.   There are costs.    Time and money.    It takes upwards of a

10:32:35   5    year to bring a device on to our network, and then the cost, of

10:32:39   6    course, we have teams so there's the actual labor costs from our

10:32:42   7    company.    But then also the cost of the manufacturing as well

10:32:45   8    that have to build to our specifications.

10:32:49   9    Q.   And do any devices not pass this vetting process?

10:32:53 10     A.   They do.   Not pass.   Yes.   There are devices that do not

10:32:56 11     make the cut.

10:33:01 12     Q.   And do Sprint's business customers generally independently

10:33:04 13     check the quality of the devices they buy?

10:33:07 14     A.   They don't typically independently check the quality of the

10:33:08 15     device.    What we'll do is work with them to make sure the

10:33:12 16     devices work to meet the needs within the environment that

10:33:14 17     they're operating.     We'll certainly give units to test so they

10:33:15 18     can try the services, as well as obviously the fit and feel of

10:33:18 19     the devices for the end users to see if it's, again, delivering

10:33:22 20     the application that they want.      But typically, it's not a

10:33:28 21     device, it's more of a complete solution test.        You know, can

10:33:30 22     assume that the devices that they're buying from us have already

10:33:33 23     gone through that particular process.

10:33:39 24     Q.   And have there been any other versions of this packaging for

10:33:46 25     the Sonim XP Strike IS that you are aware of?


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10:33:48   1    A.   I believe there was an early version that was produced for

10:33:50   2    this particular device.

10:33:54   3              MS. WHEATLEY:    Okay.   Going to introduce what's been

10:33:55   4    marked exhibit ten with no objections.

10:34:00   5              THE COURT:    Exhibit 10 admitted in evidence without

10:34:01   6    objection.

10:34:07   7              It's already in.     Been in since the 12th.

10:34:07   8         BY MS. WHEATLEY:

10:34:19   9    Q.   Mr. Shaughnessy, can you identify this box and can we put an

10:34:21 10     image up on the screen?

10:34:25 11     A.   This box matches the image on the screen.       This is, again,

10:34:32 12     intrinsic safe Sonim XP Strike IS box.       It's the same device

10:34:32 13     model.

10:34:35 14     Q.   And does Nextel appear on this box?

10:34:36 15     A.   It does.

10:34:37 16     Q.   Can you tell the jury where?

10:34:40 17     A.   On the back of the box.

10:34:44 18               MS. WHEATLEY:    Can we put that image up?

10:34:44 19          BY MS. WHEATLEY:

10:34:48 20     Q.   Can you point out where it is on the back of the box?

10:34:55 21               Does Nextel appear on any of the other packaging in

10:34:57 22     this box or other material?

10:35:01 23     A.   It does.   I believe it's on the user manuals that I showed

10:35:03 24     before, the start-up manuals.

10:35:08 25     Q.   Do you mind pulling those out and just showing the jury?


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10:35:11   1    Sorry to make you work.

10:35:16   2    A.   Same thing.   Spanish version and the English version on the

10:35:21   3    back, I'll circle it on the thing.       It's got Nextel mobile

10:35:23   4    phone.

10:35:29   5    Q.   And is there -- between these two versions, is there one

10:35:33   6    that you've seen more often?

10:35:39   7    A.   I see more often I think it's the newer one as we've evolved

10:35:42   8    the product line, the first one.       One box.

10:35:49   9    Q.   And are you generally aware or -- scratch that.         Has Sprint

10:35:55 10     continuously sold the Sonim XP Strike IS from 2013 to 2019?

10:35:56 11     A.   Yes.

10:35:59 12     Q.   And are you aware generally of Sprint's revenues from that

10:36:02 13     sales of that device?

10:36:05 14     A.   I'm aware of them.    Yeah.

10:36:09 15     Q.   Could you give an approximation on what those revenues are?

10:36:14 16     A.   It really depends based on the year.         And so when I said

10:36:18 17     that we introduced it in 2013, we upgraded a lot of devices in

10:36:24 18     2013.    And the way the phones work, I'm sure you're familiar in

10:36:27 19     the industry, especially in the business space, we typically

10:36:31 20     discount or give the phones at no cost when you sign a contract.

10:36:35 21     And so the revenues from the actual phones will vary.         In that

10:36:40 22     first year, our revenues were actually negative because we gave

10:36:44 23     away a lot of phones.     Then as we generate more sales from those

10:36:48 24     phones in the subsequent years, it becomes more positive or

10:36:50 25     above the line.    So anywhere from you know, a million to


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10:36:54   1    probably 2 million a year in annual revenue associated with

10:36:59   2    these particular boxes.     That first year, like I said, we took a

10:37:02   3    hefty loss as we normally do when we upgrade a device like this.

10:37:08   4    Q.   Okay.     And to your knowledge, from 2019 to the present, has

10:37:11   5    Sprint sold any phones with Nextel on the packaging?

10:37:13   6    A.   Yes.

10:37:18   7    Q.   And what kind of devices has it sold from 2019 to the

10:37:20   8    present with Nextel on the packaging?

10:37:23   9    A.   Typically the same devices that we've seen, the rugged

10:37:27 10     devices that we have.     The two I think we saw yesterday, the

10:37:32 11     Sonim devices, were introduced last year.        Prior to that we had

10:37:37 12     a Kyocera devices, a whole line of Kyocera.        We had Sonim again

10:37:43 13     before that as well.     So we've had, I'd say a portfolio of at

10:37:47 14     least three to five devices every year.

10:37:57 15     Q.   Okay.     And now does Sprint currently still use the Nextel

10:37:57 16     chirp?

10:37:58 17     A.   We do.

10:38:01 18     Q.   And how does Sprint currently use the Nextel chirp?

10:38:05 19     A.   We use it in our Sonim devices.      We use it in the devices

10:38:08 20     that are currently still active on our network that we sold and

10:38:18 21     have sold since 2013 on the CDMA network, and now the LTE

10:38:18 22     network.

10:38:22 23                  So every time we introduce a new device it is a

10:38:26 24     PTT-enabled device, and I think Scott might have mentioned it

10:38:28 25     yesterday, Mr. Wiley, that these devices are engineered with


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10:38:31   1    buttons on the side.     So anytime we have a button device, we

10:38:33   2    certainly ensure that that chirp works, and we do that with the

10:38:39   3    Kodiak that and the integrator.      And then on our over-the-top

10:38:42   4    application, downloadable application, we use it there as well.

10:38:46   5    Q.   And does T-Mobile plan to use the Nextel chirp going

10:38:47   6    forward?

10:38:52   7    A.   We do.   Yeah.   We definitely brought it forward in 2021 with

10:38:57   8    the Sonim S22 and S62.

10:39:03   9    Q.   And do other PTT or push-to-talk companies use the Nextel

10:39:03 10     chirp?

10:39:07 11     A.   No.

10:39:15 12     Q.   Now, Mr. Shaughnessy, I want to go back to the Nextel brand.

10:39:18 13     Does Sprint license the Nextel mark at all to your knowledge?

10:39:23 14     A.   I believe there is an open license with the carrier in South

10:39:28 15     America.   I only know it as NII.      I don't know the actual

10:39:32 16     company name, but they're an operator that I think still uses

10:39:36 17     the iDEN network and so is a Nextel partner.        I believe that

10:39:39 18     Sprint licenses the name so they can continue to operate in

10:39:40 19     South America.

10:39:47 20     Q.   And does Sprint have any plans for using the Nextel -- well,

10:39:51 21     Sprint and T-Mobile have any plans for using the Nextel brand

10:39:51 22     going forward?

10:39:54 23     A.   Well, we certainly use it today in our sales environment

10:39:57 24     just like we've talked about, our business-to-business and the

10:40:00 25     meetings, some of the packaging you see here.        Certainly the


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10:40:05   1    chirp is iconic and it does bring a smile to our faces when we

10:40:06   2    get a chance to talk about that in front of our customers.

10:40:09   3                And then long-term, as we've integrated into T-Mobile,

10:40:13   4    T-Mobile didn't really have a push-to-talk platform and so

10:40:18   5    obviously very interested, and that's why Kodiak is working with

10:40:19   6    T-Mobile to integrate the software into the T-Mobile network, so

10:40:23   7    we can continue to market our Direct Connect product line.

10:40:27   8                Now, what we do with Nextel and how we use that, lots

10:40:33   9    of possibilities.     From anywhere from third-party distribution,

10:40:37 10     MVNO, you've heard about MVNOs and certainly those are

10:40:40 11     opportunities for us to look at as well.        The opportunities are

10:40:43 12     endless, we just have to kind of sit down and have those

10:40:46 13     planning sessions once I think all the integration work is

10:40:46 14     complete.

10:40:50 15     Q.   And has Sprint's ability to make plans for Nextel been

10:40:53 16     impacted by the Defendants' use of Nextel?

10:40:58 17     A.   It certainly has thrown a wrench in our ability to really

10:41:02 18     get things moving because there is open litigation.         So, you

10:41:05 19     know, we need to close this out, we need to move forward so that

10:41:09 20     we can take the marks that we own and put them into, you know,

10:41:13 21     business streams, revenue streams that we want to produce.

10:41:17 22     Q.   And to be absolutely clear, does Sprint intend to stop using

10:41:19 23     Nextel?

10:41:21 24     A.   No.

10:41:25 25     Q.   In your time with the company, has Sprint ever stopped using


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10:41:26   1    the Nextel brand?

10:41:28   2    A.   No.

10:41:31   3    Q.   In your time with the company has Sprint ever stopped using

10:41:32   4    the Nextel chirp?

10:41:34   5    A.   No.

10:41:37   6    Q.   And Mr. Shaughnessy, can you remind the jury how long you've

10:41:39   7    been with Sprint?

10:41:44   8    A.   I started in 1997 with Sprint.      This week in fact will be,

10:41:48   9    what is that, 25 years, 30?      25 years.

10:41:52 10     Q.   Now I'm going to briefly -- we've heard about IWCE before,

10:41:55 11     but I'm going to talk about that a little bit with you.

10:41:59 12                  Did you attend IWCE ever on behalf of Sprint?

10:42:04 13     A.   I did.     I've attended it once.

10:42:05 14     Q.   When was that?

10:42:05 15     A.   2017.

10:42:12 16     Q.   Can you remind the jury what is the IWCE focus on?

10:42:16 17     A.   It focuses on the mobile radio, the two-way radio industry,

10:42:20 18     the segment if you will.     So lots of manufacturing, lots of

10:42:25 19     public safety, first responders, those type of users.

10:42:30 20     Q.   Okay.     And did Sprint have a booth at IWCE 2017?

10:42:32 21     A.   We did.     We had a real nice booth.

10:42:36 22     Q.   And did Sprint use the Nextel brand at IWCE in 2017?

10:42:38 23     A.   We did.

10:42:40 24     Q.   Okay.     Do you recall how Sprint used it?

10:42:43 25     A.   It was on a video loop.     We were introducing our


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10:42:49   1    relationship with Kodiak.      We had just upgraded or platform, I

10:42:52   2    think Scott mentioned QChat was the platform between iDEN and

10:42:56   3    Kodiak.     And we were just introducing our Kodiak platform.       And

10:43:02   4    so stringing together the Nextel brand, the Sprint brand,

10:43:04   5    Kodiak, all of that was an exciting time for us.

10:43:08   6    Q.   Now, did you see the Nextel brand anywhere other than

10:43:10   7    Sprint's booth at IWCE in 2017?

10:43:12   8    A.   I did.

10:43:13   9    Q.   Where did you see it?

10:43:18 10     A.   I saw it at a booth, it was about three rows from our, it

10:43:20 11     was the Defendants' booth.

10:43:24 12     Q.   And how did you discover Defendants' Nextel booth?

10:43:29 13     A.   Very similar story to, I think, we've heard which is

10:43:35 14     customers and employees and members of the Kodiak team coming up

10:43:40 15     and wanting to know why we had two booths at the show, what we

10:43:41 16     were doing at the other booth, since the primary booth was

10:43:43 17     really kind of to introduce the Kodiak platform.         So there was

10:43:46 18     general confusion as to what was happening.

10:43:49 19                 MS. WHEATLEY:   Okay.   I'd like to introduce what's been

10:43:54 20     marked Exhibit 96 B without objection.

10:43:56 21                 THE COURT:   Without objection, 96 B is admitted in

10:43:57 22     evidence.

10:43:58 23                 (Plaintiff's Exhibit 96 B in evidence)

10:43:58 24          BY MS. WHEATLEY:

10:44:04 25     Q.   And Carl, if you could briefly flip through this for him so


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10:44:06   1    he can see all the pages.

10:44:20   2                 Now, do you recognize these photographs?

10:44:23   3    A.   I do recognize them.      I believe they're photographs that I

10:44:25   4    actually took at that show.

10:44:34   5    Q.   Okay.     And if we could go back to Page 1.    What is depicted

10:44:36   6    here in the photograph?

10:44:42   7    A.   Well, you see some products laid out on a table, different

10:44:45   8    types of configurations, looks like phone and some radios there.

10:44:49   9    You've got sales sheets kind of outlining what those particular

10:44:53 10     products are, they've got the Nextel brand on them.         You see two

10:44:57 11     individuals behind the table with Nextel apparel.         Someone is

10:45:01 12     holding, looks like a sales sheet and having a discussion on

10:45:03 13     what they're looking at.      I assume they're having a discussion,

10:45:05 14     but someone is holding the sales sheet.

10:45:11 15     Q.   Okay.     And what kind of products or services were Defendants

10:45:12 16     offering here?

10:45:17 17     A.   We've got a smartphone right there to the bottom, I'll kind

10:45:20 18     of check that one off.      Then you've got, looks like some -- a

10:45:26 19     two-way dispatch type radio here, a radio here and a radio here.

10:45:38 20     Q.   And if we could flip to Page 4, can you describe for the

10:45:39 21     jury what's shown here?

10:45:44 22     A.   This is the booth from a different angle.       It has the Nextel

10:45:47 23     banner.   Can I go ahead and circle that right here?

10:45:48 24     Q.   You can circle it.

10:45:51 25                  THE COURT:   I think we might be able to see it.


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10:45:51   1         BY MS. WHEATLEY:

10:45:56   2    Q.   And do you see the name that's underneath the Nextel banner?

10:46:01   3    A.   Yeah, I kind of crossed through it with my green mark there.

10:46:04   4    It says Critical RF.

10:46:06   5    Q.   Had you ever heard of Critical RF prior to this lawsuit?

10:46:07   6    A.   No.

10:46:09   7    Q.   What was your reaction when you saw this booth?

10:46:12   8    A.   Well, my reaction was to find out exactly kind of what was

10:46:16   9    going on if I could.     We're a big company.     We've got

10:46:20 10     distributors, we've got third-party folks that work with us, so

10:46:23 11     I wanted to find out if there was something that I was missing.

10:46:26 12     Sometimes the left hand doesn't talk to the right hand in a big

10:46:30 13     company like ours.     We had a fairly decent presence and spent a

10:46:33 14     lot of money at this particular show, so I wanted to find out if

10:46:36 15     there was another one of our partners, third-party distributors,

10:46:40 16     someone that we had a relationship with that we said go ahead

10:46:43 17     and use this particular product.       So I was confused, you know,

10:46:45 18     just trying to figure out what was going on.

10:46:52 19     Q.   Okay.     And let's pull up what's been marked 96A without

10:46:54 20     objection.

10:47:02 21                  And do you recognize this document here on the screen?

10:47:05 22     A.   I believe it's one of the sales sheets that was attached to

10:47:09 23     one of the devices or in front of the devices.

10:47:14 24     Q.   And do you see on there there's a diagram and then the

10:47:17 25     diagram something is labeled Nextel?


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10:47:17   1    A.   Yes.

10:47:23   2    Q.   Okay.    Now, before Nextel merged with Sprint, did it have

10:47:26   3    its own network of cellular towers?

10:47:27   4    A.   Yes, it did.

10:47:31   5    Q.   And does Sprint have its own network of cellular towers?

10:47:32   6    A.   We do.

10:47:35   7    Q.   To your knowledge, did Defendants own a network of cellular

10:47:35   8    towers?

10:47:37   9    A.   No.

10:47:39 10     Q.   Okay.

10:47:43 11     A.   Let me answer the question.       I said no.   No, they do not.

10:47:46 12     So yes, I do know that they do not.

10:47:51 13     Q.   Thank you.     And is there any advantage from purchasing PTT,

10:47:55 14     push-to-talk, services directly from a carrier that has its own

10:47:56 15     network?

10:48:00 16     A.   Absolutely.     Couple things.    One is obviously we talked

10:48:03 17     about the quality of the device and the connection and the

10:48:06 18     service that you're getting from the carrier.        We certainly

10:48:11 19     talked about the priority service and making sure the packets

10:48:16 20     and data and sessions go through in times of trouble, but also

10:48:19 21     just configuring the solution.        Not everybody is a first

10:48:23 22     responder, but there are other ways to configuration the devices

10:48:27 23     to work as either stand-alone PTT devices, integrated dispatch

10:48:31 24     services.     You know, working within an environment that you

10:48:34 25     have, a manufacturing environment, sometimes you have to add


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10:48:35   1    extra antennas inside those environments called in-building

10:48:39   2    solutions.     So working with a carrier is going to ensure that

10:48:41   3    in-building solution works with the macro network, which is the

10:48:46   4    national network, and assures, you know, quality of service that

10:48:49   5    you are purchasing.     So absolutely.

10:48:55   6    Q.   Okay.    Now, throughout the course of this show, did any

10:48:58   7    customers approach you to talk about Defendants' Nextel booth?

10:49:03   8    A.   Yes.    Very similar to the other folks that have talked about

10:49:07   9    the confusion within not only our internal employees and

10:49:11 10     partners, but also customers just coming up wanting to know what

10:49:15 11     the difference is, why two booths, what's going on in the other

10:49:19 12     booth that's not going on in this booth, just general confusion.

10:49:25 13     Q.   Now, Mr. Shaughnessy, after seeing Defendants at IWCE, did

10:49:28 14     you take any action or do anything further?

10:49:31 15     A.   Well, I called back to the corporate office, I sent the

10:49:37 16     pictures in to our legal team and that was generally about it.

10:49:43 17     I didn't want to create an issue or a scene inside a convention

10:49:46 18     center.     Again, didn't exactly know what was happening, so I

10:49:49 19     just wanted to make sure that I didn't miss anything, I wasn't

10:49:52 20     confused about anything on my end.       So just generally reporting

10:49:56 21     back to the company some of the higher level officers within the

10:49:57 22     company.

10:50:02 23     Q.   And why take the time to report that there was another

10:50:03 24     Nextel?

10:50:07 25     A.   Well, because we are Nextel, and so understanding the


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10:50:12   1    confusion that it caused with just the people that came up to us

10:50:16   2    on a broad scale -- I wasn't at the trade show the whole time, I

10:50:19   3    was there for a couple hours.            We have a call center in Las

10:50:23   4    Vegas, I was there for other business as well.               But just the

10:50:27   5    confusion and that general state is concerning.               And then seeing

10:50:31   6    products and services that aren't ours being represented as ours

10:50:36   7    to the individuals that need these devices the most and rely on

10:50:39   8    these devices the most, it was concerning.               So it's concerning

10:50:43   9    enough that I needed to get others involved from a corporate

10:50:44 10     perspective.

10:50:50 11     Q.   Okay.     And has Defendants' use of Nextel harmed Sprint?

10:50:55 12     A.   It has.     And continues to harm Sprint.

10:50:57 13                  MS. WHEATLEY:        Thank you.     No further questions.

10:50:58 14                  THE COURT:     Cross-examination.

10:51:02 15                  MR. KERNELL:     Your Honor, is it possible to take a

10:51:04 16     short break, bathroom break?

10:51:20 17                  THE COURT:     No.     Unless the jury needs a break.       Does

10:51:26 18     the jury need a break?            Anybody.     Go forward.

10:51:26 19                                       CROSS-EXAMINATION

10:51:30 20          BY MR. KERNELL:

10:51:37 21     Q.   Good morning, Mr. Shaughnessy.

10:51:39 22     A.   Good morning.

10:51:49 23     Q.   You started talking yesterday or testifying yesterday and

10:51:58 24     then into today, and one of the -- during your testimony

10:52:05 25     yesterday there was a video, it was marked as Exhibit 64 B and


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10:52:15   1    it was a Sprint or it was a Nextel video.        I believe this was

10:52:22   2    the Super Bowl video; is that right?       No, this was the -- oh,

10:52:27   3    when they're in the power plant?       Oh, the power plant video.      Do

10:52:28   4    you recall that video?

10:52:28   5    A.   I do.

10:52:31   6    Q.   When did that air?

10:52:39   7    A.   You know, it's probably going to air between 2006 and 2009.

10:52:40   8    I don't know the exact dates.

10:52:41   9    Q.   Okay.

10:52:43 10     A.   I'm going to say in that general time frame.

10:52:47 11     Q.   And then the Super Bowl video was a Nextel video?

10:52:48 12     A.   It was.

10:52:52 13     Q.   And that aired in, what, 2004 before Sprint and Nextel

10:52:53 14     merged?

10:52:57 15     A.   Yeah, during the merger, right before the close.

10:53:05 16     Q.   When was the last time either Exhibit 64B or 64C were

10:53:09 17     actually broadcast on network TV?

10:53:13 18     A.   That's a good question.     I don't have the media schedules

10:53:16 19     from those commercials.

10:53:21 20     Q.   So they haven't aired any time recently, have they?         Has

10:53:24 21     Sprint paid to air either of these videos in the last 15 years?

10:53:29 22     A.   I'd have to do the math but I don't know.       It could have

10:53:34 23     gone from -- so from 2009, let's just say we'll agree, I'm

10:53:39 24     ranging this from 2005 to 2009.      So then that would be 13 years.

10:53:46 25     Q.   Okay.     And I believe you said that Sprint paid $10 million


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10:53:49   1    for those ads?

10:53:53   2    A.   I don't believe I said how much they paid.        I mentioned how

10:53:57   3    much ads can cost from an development perspective and how ads

10:54:04   4    like a Super Bowl ad, certainly the most expensive ads in all of

10:54:08   5    broadcasting probably cost that much.       And then to run a

10:54:10   6    sustained campaign could be easily $10, could be $20 or $30

10:54:15   7    million.   But again, I didn't mention anything about those

10:54:15   8    particular campaigns because again, I don't know how much those

10:54:16   9    were.

10:54:19 10     Q.   So you were just talking in general that those types of

10:54:20 11     campaigns could --

10:54:23 12     A.   Yeah, that was the question that was asked.

10:54:30 13     Q.   So has Sprint done an ad campaign or a commercial campaign

10:54:35 14     like that for Nextel since 2009?

10:54:40 15     A.   I believe there's some ads after 2009, but again, it's not

10:54:45 16     my area in that time.      I was in sales at that time, so I don't

10:54:51 17     know the media schedule for the Nextel brand.

10:55:09 18     Q.   Now, we talked about -- I wanted to just clarify one thing.

10:55:14 19     You're here as the corporate representative for Sprint

10:55:17 20     Communications LLC; is that correct?

10:55:23 21     A.   That's what I've been told, yeah.

10:55:28 22     Q.   And that's your understanding, that you are the Sprint

10:55:31 23     representative for all questions related to Sprint.

10:55:35 24                MS. WHEATLEY:    Objection, relevance and it's not --

10:55:36 25                THE COURT:   I'll permit him to answer the question if


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10:55:38   1    he knows.

10:55:41   2                   THE WITNESS:     I don't know the scope of the corporate

10:55:44   3    representative.        I do not know that.

10:55:44   4           BY MR. KERNELL:

10:55:47   5    Q.     So you're not -- you may not be able to answer questions on

10:55:51   6    behalf of Sprint in this trial today?

10:55:53   7                   MS. WHEATLEY:     Objection.   The witness was not

10:55:56   8    designated as any sort of corporate representative beyond being

10:56:00   9    the corporate representative at the table.

10:56:02 10                    THE COURT:     Yeah, I don't know -- well, let's see where

10:56:08 11     this goes.       You can ask the question, he can answer it if he

10:56:09 12     can.

10:56:09 13            BY MR. KERNELL:

10:56:16 14     Q.     You talked about -- and there's the exhibit I believe it's

10:56:21 15     been marked as Exhibit 10, do you have that in front of you?

10:56:23 16     A.     I do not.

10:56:24 17     Q.     The box?

10:56:30 18     A.     Oh, I've got Exhibit 38 and I've got Exhibit 40.

10:56:35 19     Q.     I think on the side it has another sticker on one of those.

10:56:37 20                    THE COURT:     38 is not really 38, I think it's 18 but

10:56:40 21     I'm not sure what it is.

10:56:43 22                    THE WITNESS:     Ten.   I'm sorry.   I've seen it right

10:56:44 23     here.

10:56:45 24            BY MR. KERNELL:

10:56:48 25     Q.     Okay.     Thank you.     So there's an Exhibit 10, that's the


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10:56:50   1    intrinsically safe --

10:56:51   2    A.   Correct.

10:56:55   3    Q.   -- Sonim.      Is the other one also an intrinsically safe?

10:56:56   4    A.   They are.

10:57:00   5    Q.   And intrinsically safe is not exclusive to Sprint, is it?

10:57:02   6    A.   No.     No.   It's a standard.

10:57:07   7    Q.   Okay.     And when you say "a standard" so if other

10:57:14   8    manufacturing make an intrinsically safe device, then it falls

10:57:19   9    under certain specs for as defined by that terminology; is that

10:57:19 10     correct?

10:57:21 11     A.   Correct.

10:57:24 12     Q.   Do you know if Defendants sell any intrinsically safe

10:57:25 13     devices?

10:57:28 14     A.   I don't.

10:57:35 15     Q.   So if they sold that a device that's intrinsically safe,

10:57:41 16     it's the manufacturer who is certifying that as intrinsically

10:57:43 17     safe, correct?

10:57:47 18                  MS. WHEATLEY:     Objection, foundation.

10:57:49 19                  THE COURT:     Well, if he knows.   If he knows he can

10:57:51 20     answer.

10:57:53 21                  THE WITNESS:     Can you repeat the question?

10:57:53 22          BY MR. KERNELL:

10:57:57 23     Q.   Well, let me withdraw that question.         The Sonim device in

10:58:01 24     front of you, intrinsically safe, they can sell those to other

10:58:02 25     carriers, correct?


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10:58:03   1    A.   They could.

10:58:05   2    Q.   And it's Sonim that is representing that those are

10:58:08   3    intrinsically safe, correct?

10:58:10   4    A.   They're representing it to Sprint, and we're representing it

10:58:14   5    to our customers.        And so it's kind of a jointly-represented

10:58:16   6    when you go in and sell a solution and you represent it as

10:58:21   7    intrinsically safe, we have to assume that as well from a

10:58:26   8    standards perspective.        So our brand and our reputation is on

10:58:28   9    the line just as the manufacturer's is.

10:58:30 10     Q.   Right.     Because they're going to come back to you if that

10:58:34 11     phone doesn't work right, they're going to come back to Sprint?

10:58:34 12     A.   That's correct.

10:58:37 13     Q.   And they would come back to AT&T if Sonim sold them an

10:58:40 14     intrinsically safe device and it didn't operate that way.

10:58:45 15     A.   If they bought an AT&T push-to-talk intrinsically safe

10:58:48 16     device from AT&T, they would come back to AT&T.

10:58:58 17     Q.   So did Sprint sell other devices that were -- are

10:59:00 18     non-intrinsically safe devices?

10:59:01 19     A.   Yes.

10:59:08 20     Q.   And they sold a Sonim device that's -- or it's not marked as

10:59:09 21     intrinsically safe, correct?

10:59:11 22     A.   Correct.

10:59:27 23                 MR. KERNELL:     Your Honor, may I approach the witness.

10:59:28 24                 THE COURT:     Yes, you may.   Give it to the court

10:59:32 25     security officer who will hand it to him.


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10:59:32   1         BY MR. KERNELL:

10:59:43   2    Q.   Mr. Shaughnessy, do you recognize this device?

10:59:49   3    A.   This is a Sonim Ultra Rugged design, Strike.

10:59:51   4    Q.   And it's not a Strike IS, correct?

10:59:52   5    A.   No, it's not.

10:59:55   6    Q.   Now, is that a device that Sprint sold?

10:59:55   7    A.   Yes.

11:00:00   8    Q.   And is that a device that was used on the Nextel network?

11:00:03   9    A.   Yes.

11:00:08 10                 MR. KERNELL:     Your Honor, I ask to admit this device

11:00:09 11     into evidence.

11:00:13 12                 THE COURT:     Does it have a number?

11:00:18 13                 MR. KERNELL:     5029.    No.   The 5029 was the photographs

11:00:22 14     of that box.     I don't know if we need to put another Defendant

11:00:23 15     sticker on it.

11:00:26 16                 THE COURT:     Yeah, I can't let it in if it doesn't have

11:00:28 17     a number.

11:00:53 18                 MR. KERNELL:     Is 5232 the last --

11:00:56 19                 THE COURT:     5199 is the last number that I have.     I'm

11:01:03 20     looking at my trial exhibit list, ten pages long, the end of the

11:01:10 21     10th page, Page 10 is 5199.          Defendants' trial exhibit list.      If

11:01:13 22     there's another list, I'm not aware of it.

11:01:15 23                 MR. KERNELL:     We need to get you the updated list.

11:01:20 24                 THE COURT:     That would be good if I had it.     Just give

11:01:23 25     me a number.     Pick a number.


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11:01:24   1                MR. SCHWARTZ:     5232.

11:01:29   2                THE COURT:     5232 is a wonderful number.

11:01:33   3                MR. KERNELL:     So if we can talk about this Exhibit 5232

11:01:33   4    --

11:01:35   5                THE COURT:     Is it offered in evidence?       Is there any

11:01:35   6    objection?

11:01:36   7                MS. WHEATLEY:     No objection, Your Honor.

11:01:37   8                THE COURT:     Without objection, then admitted in

11:01:38   9    evidence.

11:01:38 10                 (Defense Exhibit 5232 in evidence)

11:01:42 11                 MR. KERNELL:     May I take those to the ELMO so we can

11:01:44 12     show those to the jury?

11:01:57 13                 THE COURT:     Yes.    What other one?     You got to tell us

11:01:59 14     what number so that the record is clear as to what we're talking

11:02:01 15     about.

11:02:04 16                 MR. KERNELL:     Yes, Your Honor.

11:02:04 17          BY MR. KERNELL:

11:02:27 18     Q.   So Mr. Shaughnessy, this is the device that you were just

11:02:31 19     looking at, it's been marked as 5210.           I just want to make sure

11:02:34 20     that this is the device that you were.

11:02:36 21                 THE COURT:     I thought it was 5232.

11:02:40 22                 MR. KERNELL:     I'm sorry.    5232.     Misspoke.

11:02:41 23                 THE COURT:     Okay.

11:02:41 24          BY MR. KERNELL:

11:02:43 25     Q.   Is that --


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11:02:44   1    A.   Is there a question?

11:02:49   2    Q.   Yes.     I just want to verify that this is the device that we

11:02:51   3    had identified as 5232.

11:02:56   4                 THE COURT:    I thought that was 108.   Is that --

11:02:58   5                 MR. SCHWARTZ:    That was from a prior deposition, Your

11:02:58   6    Honor.

11:03:01   7                 THE COURT:    Okay.   All right.

11:03:01   8         BY MR. KERNELL:

11:03:11   9    Q.   Now, as we are talking about this, this is a Sonim XP

11:03:12 10     Strike, correct?

11:03:13 11     A.   Correct.

11:03:17 12     Q.   And it's not marked as intrinsically safe.        What is the

11:03:20 13     difference between these two devices that are intrinsically and

11:03:22 14     not intrinsically safe?

11:03:27 15     A.   Well, where it says right there submersible up to 6.5 feet

11:03:31 16     of water for 30 minutes, that kind of gives you the general idea

11:03:34 17     that this is a -- I won't call this a mill spec or rugged device

11:03:37 18     that you can drop.        You can work in a rugged environment.    But

11:03:40 19     the difference is if this drops and comes apart, it's not going

11:03:45 20     to emit a spark.      And so again, intrinsically safe is there to

11:03:50 21     provide that lawyer of security within highly, you know,

11:03:55 22     dangerous-type environments; oil refineries, chemical plants,

11:03:59 23     things where you'd have an explosion if you dropped and had a

11:04:00 24     spark.

11:04:03 25     Q.   Okay.     This is a device that you may not need it to be


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11:04:09   1    intrinsically safe for use in whatever your job is or whatever

11:04:11   2    you're using it for.

11:04:16   3    A.   Well, I mean, yes.      I mean, is there a question?

11:04:19   4                 THE COURT:   I don't even understand the question.     You

11:04:23   5    may not need it to be intrinsically safe for use in whatever

11:04:28   6    your job is or whatever you're using it for?        I don't even know

11:04:32   7    that there's a question there.      Ask a different question.

11:04:32   8         BY MR. KERNELL:

11:04:37   9    Q.   This is a device that's not meant to be used in environments

11:04:41 10     that require intrinsically safe devices, correct?

11:04:42 11     A.   Correct.

11:04:44 12     Q.   And if you look on here, there's a number of different

11:04:45 13     trademarks.     You recognize the trademarks?

11:04:45 14     A.   I do.

11:04:49 15     Q.   There's a Sonim and it's marked with a circle R.        Do you see

11:04:49 16     that?

11:04:50 17     A.   I do.

11:04:55 18     Q.   And you see the Sprint and that's the pin drop?

11:04:58 19     A.   Well, that's called the fan.

11:05:00 20     Q.   The fan trademark?

11:05:03 21     A.   It's built on the pin drop, but thank you for remembering

11:05:07 22     that.   It's built on the pin drop, but it's called a fan.

11:05:12 23     Q.   This device is actually marked with Sprint on the device?

11:05:12 24     A.   Correct.

11:05:15 25     Q.   And it's also marked with the Sonim on the device itself.


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11:05:16   1    A.   Correct.

11:05:24   2    Q.   And if we look at the back there's a number of places where

11:05:32   3    trademarks are used; Sonim XP, Sprint, the Sprint Network.          Now

11:05:36   4    will this device work on an iDEN network?

11:05:38   5    A.   You know, I don't believe it will.      I believe this was built

11:05:45   6    from a CDMA perspective.     Maybe even LTE.     But I don't believe

11:05:46   7    it works on an iDEN.

11:05:49   8    Q.   The copyright on this one is a 2012, do you see that?

11:05:52   9    A.   I see that, yep.

11:05:59 10     Q.   And so would this have been offered for sale in the 2012

11:06:01 11     time frame?

11:06:03 12               MS. WHEATLEY:     Objection.   This was the subject of a

11:06:05 13     motion in limine, Your Honor.

11:06:08 14               MR. KERNELL:     It's just a date, Your Honor.

11:06:08 15               MS. WHEATLEY:     Counsel was cautioned about

11:06:13 16     misrepresenting the meaning of a copyright date.

11:06:15 17               THE COURT:     I don't know what that means, but I do

11:06:18 18     remember that there was a motion in limine and that I granted

11:06:23 19     the motion in limine.     So if you are violating that, I'll figure

11:06:26 20     it out, but I'm not prepared to say.       You decide.    If you think

11:06:31 21     you're not, go forward and we'll deal with it later.

11:06:31 22          BY MR. KERNELL:

11:06:38 23     Q.   So there is a date on this box of 2012.       Did Sprint --

11:06:39 24     A.   There is.

11:06:45 25     Q.   -- offer this device in the 2012 time frame?


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11:06:48   1    A.   I can't be 100% sure, but I would imagine that if we had a

11:06:51   2    box that we produced in 2012, we probably sold the device in

11:06:53   3    2012.

11:07:00   4    Q.   Okay.     Now, if we can look at what's been marked as

11:07:08   5    Plaintiff's Exhibit 10 which also has a 40 on the front, and

11:07:12   6    this is the Sonim XP Strike IS, correct?

11:07:12   7    A.   Correct.

11:07:18   8    Q.   And I guess a difference between these two is it says IS and

11:07:22   9    it says intrinsically safe, correct?

11:07:24 10     A.   Yeah, we've covered that, but yeah.

11:07:27 11     Q.   Well, I didn't have this device up here.

11:07:33 12                  And so this meets additional specifications, this

11:07:39 13     device Exhibit 10 meets additional specifications that the --

11:07:54 14     I'm sorry.     That the device marked as 5232 at least is not

11:07:57 15     marketed as meeting, correct?

11:08:00 16     A.   So can you just state the question again?       I was zooming in

11:08:01 17     and out.

11:08:06 18     Q.   Yes.     I'm sorry.   So the device with the Exhibit 40 on the

11:08:12 19     front which is Plaintiff's Exhibit 10 which is an intrinsically

11:08:12 20     safe device?

11:08:12 21     A.   Uh-huh.

11:08:19 22     Q.   Meets additional more stringent specifications?

11:08:20 23     A.   Correct.

11:08:24 24     Q.   Than the device, the Sonim device marked as Exhibit 108

11:08:27 25     which is Defendants' Exhibit 5232; is that correct?


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11:08:30   1    A.   As I understand it yes, that would be the case.

11:08:30   2    Q.   I'm sorry?

11:08:34   3    A.   I said as I understand it, yes, that would be the case.

11:08:42   4    Q.   Now, do you know if Defendants could buy a Sonim XP Strike

11:08:45   5    and resell it as their device?

11:08:47   6    A.   I don't know.

11:08:51   7    Q.   Is it -- are there any restrictions on Sonim selling their

11:08:53   8    devices to other third parties?

11:08:59   9    A.   I don't know.     I'm not in the supply chain.

11:09:04 10     Q.   So if we could look at the back of Plaintiff's Exhibit 10,

11:09:16 11     we see that it has the same -- focus there --

11:09:18 12               THE COURT:     It's auto focus but if you want to zoom,

11:09:20 13     that's a different matter.

11:09:22 14               MR. KERNELL:     Is that focused on your screen?

11:09:25 15               THE COURT:     Well, more or less.     My eyes can focus but

11:09:27 16     that's a different problem.

11:09:28 17               MR. KERNELL:     Maybe it's my eyes.

11:09:30 18               THE COURT:     I think it is focused.     I think it's just

11:09:33 19     you need to zoom if you want to get somebody to read that little

11:09:37 20     bitty print.     That's all.

11:09:50 21               MR. KERNELL:     Now that looks like my vision.

11:09:52 22               THE COURT:     It's a lot worse.     It's going in the right

11:09:59 23     direction.     Why is it not auto focusing, Dawn, do you know?

11:10:05 24     There you go.     Don't touch it.   Leave it alone.     It gets annoyed

11:10:09 25     when it try to countermand it's commands.


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11:10:09   1         BY MR. KERNELL:

11:10:19   2    Q.   So this is the Sonim XP Strike IS and again, this is for the

11:10:20   3    Sprint network only?

11:10:21   4    A.   This device is.

11:10:27   5    Q.   And so this one is not marked with the any Nextel name on

11:10:27   6    it, correct?

11:10:29   7    A.   No.     Incorrect.

11:10:30   8    Q.   I'm sorry?

11:10:31   9    A.   Incorrect.

11:10:32 10     Q.   I'm sorry?

11:10:32 11     A.   It's right here.

11:10:35 12     Q.   That does have -- did you do that?

11:10:38 13     A.   I did.     Just helping you out.

11:10:46 14     Q.   Very nice.     So it talks about -- now it says 2013, copyright

11:10:51 15     2013 Sprint, Sprint and the Sprint logo are trademarks are

11:10:52 16     Sprint.    Do you see that?

11:10:56 17     A.   I do.     I apologize for striking through that.     If you need

11:10:59 18     to take that off?

11:11:02 19                  THE COURT:   You can, you have to see clear annotation

11:11:04 20     on the bottom of the screen.

11:11:04 21          BY MR. KERNELL:

11:11:09 22     Q.   Next to it it says Sonim, the Sonim logo and XP Strike IS

11:11:12 23     are trademarks of Sonim Technologies.       Do you see that?

11:11:13 24     A.   I see that.

11:11:18 25     Q.   And other marks are the property of their respective owners.


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11:11:18   1    A.   Correct.

11:11:23   2    Q.   Correct?    Then it just says Nextel mobile phone.

11:11:23   3    A.   Correct.

11:11:29   4    Q.   So there's no link between Sprint and Nextel on this box, is

11:11:30   5    there?

11:11:31   6    A.   Oh, sure there is.

11:11:32   7    Q.   How?

11:11:35   8    A.   Well, Sprint owns the Nextel brand, so there's inherent

11:11:40   9    ownership linkage, the trademark.

11:11:46 10     Q.   So is there a linkage between Sonim and Sprint?        They're on

11:11:47 11     the same line?

11:11:51 12     A.   Well, other than linking them as partners in this particular

11:11:53 13     device, yeah, sure.

11:11:59 14     Q.   And the Nextel with the circle R after it, it's buried in

11:12:03 15     the text in small, very small print on this box, correct?

11:12:08 16     A.   It's the same print as the rest of the box, for the most

11:12:08 17     part.

11:12:13 18     Q.   If we look at the front, this is a much bigger logo,

11:12:14 19     correct?

11:12:14 20     A.   That's right.

11:12:16 21     Q.   And these are bigger logos?

11:12:16 22     A.   Uh-huh.

11:12:20 23     Q.   And it's actually -- the Sprint logo is actually printed

11:12:28 24     right on the device itself.      On the back of this box in the

11:12:31 25     middle of very small text.


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11:12:32   1                 THE COURT:     The jury will decide whether it's very

11:12:35   2    small or not, you don't need to characterize it.            Ask a question

11:12:37   3    please.

11:12:37   4         BY MR. KERNELL:

11:12:40   5    Q.   That is the only place that the Nextel is on this box,

11:12:41   6    correct?

11:12:44   7    A.   I believe it's on the manuals as well.

11:12:46   8    Q.   And the question was on the box.

11:12:47   9    A.   On the box, correct.

11:12:50 10     Q.   And so on the manuals, and I believe we looked           at those

11:13:09 11     earlier, if we could.        That's an exhibit.

11:13:16 12                  So let me ask you, that said Nextel Inspired.        And I

11:13:23 13     believe this box has the logo or a the Nextel on it as Nextel

11:13:25 14     Inspired.     Do you see that?

11:13:26 15     A.   When you say this box?

11:13:28 16     Q.   The box in front of you.

11:13:29 17     A.   Okay.

11:13:31 18                  THE COURT:     What exhibit?   Can you refer to a number,

11:13:34 19     because that way we don't get all these boxes mixed up.

11:13:37 20                  MR. KERNELL:     If I could look at this exhibit --

11:13:39 21                  THE COURT:     What number is the exhibit that you have in

11:13:41 22     front of you?

11:13:42 23                  THE WITNESS:     38 on the front of the box.

11:13:45 24                  THE COURT:     No, that's not the right number.

11:13:46 25                  THE WITNESS:     I don't see any other number on the box,


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11:13:48   1    Your Honor.

11:13:50   2                 THE COURT:   What is the exhibit number of the box that

11:13:57   3    has 38 on it, which I thought we concluded was not actually 38?

11:14:01   4    I guess it is a box.         Okay.   So it is 38.

11:14:03   5                 MS. WHEATLEY:     Yes, I believe it is 38.

11:14:05   6                 THE COURT:   It's Plaintiff's Exhibit 38.

11:14:05   7         BY MR. KERNELL:

11:14:27   8    Q.   So this is Plaintiff's Exhibit 38.         And on the back, again

11:14:35   9    it says -- this one, instead of saying Nextel Mobile Phone, it

11:14:38 10     says Nextel Inspired, correct?

11:14:39 11     A.   Correct.

11:14:42 12     Q.   And it also says Nextel Inspired over here.

11:14:43 13     A.   Correct.

11:14:49 14     Q.   Now, both of these have a date of 2013 on them.         Do you see

11:14:49 15     that?

11:14:50 16     A.   I do.

11:14:57 17     Q.   I'm talking about Plaintiff's Exhibit 10 and         Plaintiff's

11:15:10 18     Exhibit 38 have the same 2010 or 2013 date on them.         But they

11:15:21 19     have a different -- this exhibit uses Nextel Inspired on it.

11:15:21 20     Correct?

11:15:22 21     A.   It does.

11:15:23 22     Q.   Do you know when that changed?

11:15:25 23     A.   I don't.

11:15:27 24     Q.   Do you know why it changed?

11:15:31 25     A.   Well, I would imagine, and again this is from my experience


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11:15:34   1    in working, that it's part of the evolution of how we're using

11:15:40   2    Nextel within the brand.     You mentioned change, and change over

11:15:44   3    time how we use it, where it's used, how it's positioned, how we

11:15:49   4    leverage it, is probably why that changed.

11:15:58   5    Q.   This was after -- 2013 is the year that the Nextel platform,

11:16:02   6    Nextel network was shutdown, correct?

11:16:05   7    A.   That's the year that the iDEN network was shutdown.

11:16:09   8    Q.   And it's also referred to as the Nextel network?

11:16:11   9    A.   Some people call it the Nextel network.

11:16:14 10     Q.   Internally Sprint has called it the Nextel platform and the

11:16:16 11     Nextel network?

11:16:19 12     A.   We called it Nextel platform, Nextel network.        We called it

11:16:21 13     iDEN network, we called it direct connect network, the

11:16:24 14     push-to-talk network.     We called it a lot of things.

11:16:28 15     Q.   If it's push-to-talk, that's a generic term, correct?

11:16:31 16     A.   Well, as it relates to our products it's not a generic term.

11:16:35 17     As it relates to our product and how we market it, it relates to

11:16:36 18     our direct connect.

11:16:40 19     Q.   But Sprint doesn't have a trademark on push-to-talk.

11:16:44 20     A.   No.

11:16:49 21     Q.   I think -- I believe earlier you testified that Sprint

11:16:55 22     currently sells three to five devices that are intrinsically

11:16:55 23     safe; is that correct?

11:16:59 24     A.   No, I did not say that.

11:17:03 25     Q.   Does Sprint sell or T-Mobile sell any intrinsically safe


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11:17:04   1    devices today?

11:17:08   2    A.   In our current portfolio we do not have intrinsically safe

11:17:08   3    devices.

11:17:16   4    Q.   What is the typical shelf life of a cellphone?

11:17:22   5    A.   Well, that's subjective.     You know, there's some that are

11:17:25   6    artificial, like we would -- we stimulate the market for shelf

11:17:30   7    life.   As new models come out every year, a lot of demand.         For

11:17:34   8    example, the iPhone, it's an annual event.        Some people line up

11:17:38   9    for it, so that shelf life might be a little bit shorter.          Other

11:17:42 10     organizations purchase devices and they're on our network for

11:17:44 11     years and years and years.

11:17:46 12     Q.   And what organizations are those?

11:17:50 13     A.   Lot of government agencies, first responders, lot of

11:17:54 14     manufacturing, folks that either have purchased a specialized

11:17:58 15     device from us, a specific device from us and aren't necessarily

11:18:03 16     worried about the latest and greatest data devices and color

11:18:08 17     screens and pixels and cameras and things like that.

11:18:12 18     Q.   Now, I believe you testified that you saw some of

11:18:16 19     Defendants' devices at the IWCE?

11:18:19 20     A.   Yeah, close enough to take those pictures.

11:18:24 21     Q.   And those photographs were -- and this is in Exhibit 96, I

11:18:27 22     believe, those were photographs that you personally took?

11:18:29 23     A.   I believe they were.

11:18:32 24     Q.   And did you test any of their devices?

11:18:33 25     A.   No.


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11:18:35   1    Q.   Did you operate any of their devices?

11:18:36   2    A.   No.

11:18:39   3    Q.   Did you pick up and inspect any of their devices?

11:18:40   4    A.   No.

11:18:44   5    Q.   Do you know if any of those devices that you were looking at

11:18:44   6    were intrinsically safe?

11:18:49   7    A.   No.   I wasn't really interested in the devices.       I was

11:18:52   8    interested in the Nextel brand that was being shown.

11:18:55   9    Q.   So they could be selling intrinsically safe devices.

11:18:58 10     A.   They could be selling intrinsically safe devices, but

11:19:02 11     they're not Nextel devices.      That's what the concern was and why

11:19:06 12     I took the pictures is because they're labeled Nextel which is

11:19:08 13     our trademark.

11:19:16 14     Q.   I believe you testified earlier that there was a general

11:19:19 15     confusion, some of the people that talked to you.         Is that

11:19:19 16     correct?

11:19:20 17     A.   Correct.

11:19:22 18     Q.   How many individuals came up and talked to you about

11:19:26 19     Defendants booth at the IWCE?

11:19:32 20     A.   You know, half a dozen customers, probably the same number

11:19:36 21     of employees from Kodiak and Sprint.       Pretty early on in the

11:19:37 22     show.

11:19:37 23     Q.   I'm sorry?

11:19:42 24     A.   I said it was pretty early on in the show.        And those are

11:19:49 25     the ones that prompted me to go see the booth, you know.


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11:19:52   1    Q.   And which show was this, the 2017?

11:19:53   2    A.   2017 IWCE.

11:20:02   3    Q.   Have you been to -- did you go to the IWCE 2018 show?

11:20:03   4    A.   I did not.

11:20:06   5              THE COURT:     He said he only went once, I thought.

11:20:11   6              THE WITNESS:     I did say that.

11:20:11   7         BY MR. KERNELL:

11:20:17   8    Q.   Earlier you were talking about, you know, these

11:20:21   9    intrinsically safe devices, and I think you used the term that

11:20:27 10     it was built on that platform, the push-to-talk was built on

11:20:32 11     that platform.     You used that terminology.     You're referring to

11:20:33 12     the iDEN platform?

11:20:37 13     A.   Yeah, the Nextel platform.

11:20:42 14     Q.   And that was the gold standard was the iDEN platform.

11:20:45 15     A.   Well, the Nextel Direct Connect is the gold standard for

11:20:48 16     direct connect.     IDEN was the technology that delivered it

11:20:53 17     originally.     Then we evolved it to QChat, using the same

11:20:56 18     specifications, the iDEN from a call delivery perspective and

11:20:58 19     prioritization and feature set.      And then we evolved that to

11:21:01 20     Kodiak which continued to expand the feature set and allow us to

11:21:07 21     use broadband networks.     It's all tied to the gold standard,

11:21:08 22     which is Nextel.

11:21:11 23     Q.   But Sprint doesn't own Kodiak.      That's a third-party.

11:21:11 24     A.   Correct.

11:21:16 25     Q.   And Kodiak provides their services to other carriers also,


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11:21:16   1    correct?

11:21:20   2    A.    Correct.       They integrate into their network.

11:21:23   3    Q.    So if you're using Kodiak as your gold standard, then any of

11:21:27   4    these other carriers that use Kodiak would have the same gold

11:21:28   5    standard?

11:21:31   6    A.    Except they don't have the legacy of Nextel.         They don't

11:21:35   7    have the inherent knowledge of the industry like we do.

11:21:42   8    Q.    Right.     And so this legacy of Nextel, go back to the Nextel

11:21:44   9    Inspired, do you paint?

11:21:45 10     A.    Do I paint?

11:21:48 11     Q.    You ever paint?       You like to --

11:21:50 12                 MS. WHEATLEY:     Objection, relevance.

11:21:52 13                 THE COURT:     A wall or a portrait?    What are you asking

11:21:54 14     about?     I'll sustain the objection.

11:21:55 15           BY MR. KERNELL:

11:22:05 16     Q.    If you saw a painting and it said Monet at the bottom, would

11:22:08 17     you expect that to be a Monet?

11:22:12 18     A.    I would expect to be -- well, it really depends on where I'm

11:22:16 19     at.   If I'm in a museum?       Yes.   If I'm in an art print shop in

11:22:17 20     the mall?      No.

11:22:22 21     Q.    If you are in a museum and you see Monet inspired, would you

11:22:26 22     expect that to be an original Monet?

11:22:29 23     A.    Would I expect it to be an original?         No, I would have to

11:22:31 24     ask a few more questions.

11:22:38 25                 MR. KERNELL:     No further questions, Your Honor.


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11:22:40   1                   THE COURT:   Redirect.

11:22:40   2                                  REDIRECT EXAMINATION

11:22:40   3           BY MS. WHEATLEY:

11:22:55   4    Q.     Can we call up exhibit 38?       And can we go to the back of the

11:22:56   5    box?

11:23:07   6                   Now, Mr. Shaughnessy, do you see the word Nextel on

11:23:08   7    here in two spots?

11:23:10   8    A.     I do.

11:23:15   9    Q.     And do you see the symbol that appears after Nextel?

11:23:15 10     A.     Circle R.

11:23:19 11     Q.     Do you know what a circle R means?

11:23:22 12     A.     Registered trademark.

11:23:25 13     Q.     And the circle R does not appear after inspired, correct?

11:23:26 14     A.     Correct.

11:23:35 15     Q.     And counsel asked you about the 2013 copyright date on the

11:23:40 16     box.    Does that copyright date represent when Sprint sells this

11:23:40 17     device?

11:23:45 18     A.     Not necessarily.      I think it means when the actual box was

11:23:46 19     printed.

11:23:52 20     Q.     Okay.     And to your knowledge, has Sprint sold this device

11:23:53 21     after 2013?

11:23:58 22     A.     Yes, I believe I mentioned that we sold the device from 2013

11:24:02 23     all the way through at least 2018, and maybe even into 2019 as

11:24:04 24     inventories remain.

11:24:10 25     Q.     Okay.     And is that typical for a device like this that you


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11:24:13   1    would sell it for that period of time?

11:24:18   2    A.   It's a little longer than we typically would do.        It's a

11:24:23   3    specialty device, so those specialty devices take a little bit

11:24:26   4    longer to go through the inventory.       Many times people use them

11:24:29   5    specifically for industries and/or commerce.

11:24:33   6    Q.   And I think earlier when you were talking about how Sprint

11:24:37   7    sells these devices, you indicated at the beginning you would

11:24:41   8    have -- you would give, in conjunction with the wireless

11:24:45   9    services, you would sell a large number of these devices in the

11:24:45 10     early years?

11:24:46 11     A.   Correct.

11:24:49 12     Q.   And so you would place a large order of these devices from

11:24:51 13     Sonim?

11:24:55 14     A.   Right.     Typically a manufacturer like Sonim or Apple or

11:24:58 15     Samsung, they have minimum requirements to get their goods

11:25:02 16     purchased, their plant run, the lines run, because they may be

11:25:05 17     building other things on those lines as well.        So they need to

11:25:07 18     have a minimum order.

11:25:10 19     Q.   And so you would get your full inventory and continue to

11:25:13 20     sell those devices over the years; is that accurate?

11:25:14 21     A.   Correct.

11:25:25 22     Q.   Okay.     And in your experience, is there anything unusual

11:25:26 23     about having multiple versions of packaging?

11:25:32 24     A.   Unusual?     No.

11:25:35 25                  MS. WHEATLEY:   Thank you, Mr. Shaughnessy.    No further


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11:25:35   1    questions.

11:25:37   2              THE COURT:    Thank you, sir.     You are excused.

11:25:42   3              Please call another witness.

11:25:57   4              MR. RIOPELLE:       Your Honor, Mr. Shaughnessy was Sprint's

11:26:04   5    last witness.     We have some stipulated facts and a couple of

11:26:07   6    responses to requests for admissions that we would like read

11:26:09   7    into the record before resting.

11:26:12   8              THE COURT:    Go.

11:26:16   9              MR. RIOPELLE:       The first ones I'm going to read, Your

11:26:18 10     Honor, are stipulated facts.       I don't know if the Court wants to

11:26:21 11     instruct the jury about what a stipulated fact is.

11:26:23 12               THE COURT:    Well, I will instruct you at the end of the

11:26:29 13     trial that the only things that you may consider are evidence,

11:26:34 14     which comes from the stand or from exhibits.        Another form of

11:26:37 15     evidence is facts that are stipulated to by the parties.          And

11:26:40 16     he's going to read you now some facts that have apparently been

11:26:42 17     stipulated.     I don't know what they are, so I don't have any

11:26:46 18     idea, but I assume that they are facts that have been agreed to

11:26:49 19     by both sides and you're to talk them as proven.

11:26:52 20               You may proceed.

11:26:54 21               MR. RIOPELLE:       I'm going to read four stipulated facts.

11:26:58 22               First one.    Mr. Calabrese informed Mr. Kaplan about

11:27:05 23     Sprint's objections to NW's use of the Nextel mark.

11:27:09 24               The second one is Defendant RetroBrands registered the

11:27:15 25     domains nextelisback.com, getnextel.com, and


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11:27:18   1    nextelmobileworldwide.com in 2018.

11:27:25   2              Third one is nextelisback.com and getnextel.com

11:27:29   3    redirect to nextelmobileworldwide.com.

11:27:33   4              And the last one is the website at

11:27:38   5    nextelmobileworldwide.com advertises the Nextel brand, includes

11:27:43   6    a link to nextelworldwide.com and includes contact information

11:27:47   7    for Defendant Nextel Mobile Worldwide, Inc. listing Mr. Jeffrey

11:27:50   8    Kaplan as the president.

11:27:51   9              THE COURT:    Those are facts that you -- that have been

11:27:56 10     agreed to and you must find them as having been proven.

11:27:57 11               Next?

11:28:00 12               MR. RIOPELLE:    The next ones, Your Honor, are responses

11:28:04 13     to requests for admissions.

11:28:06 14               THE COURT:    Requests for admissions are one side can

11:28:10 15     ask the other side to admit to something and if they do, then it

11:28:15 16     is admissible as having proven that fact, or being admitted to.

11:28:17 17               Go ahead.

11:28:20 18               MR. RIOPELLE:    So, the request is Stephen Calabrese

11:28:26 19     decided Nextel, Inc. would use Defendants' Nextel mark.          The

11:28:28 20     response is admitted.

11:28:33 21               Next request is Nextel, Inc. does not include a

11:28:38 22     disclaimer regarding Sprint or the historic Nextel brand on

11:28:42 23     packaging for goods it sells under or in connection with the

11:28:45 24     Defendants' Nextel mark.     Response, admitted.

11:28:50 25               The next one.    Nextel, Inc. does not include a


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11:28:54   1    disclaimer regarding Sprint or the historic Nextel brand on

11:28:59   2    telecommunication devices it sells under or in connection with

11:29:01   3    the Defendants Nextel mark.        Admitted.

11:29:05   4              Nextel, Inc. does not include a disclaimer regarding

11:29:08   5    Sprint or the historic Nextel brand on boxes containing

11:29:13   6    telecommunication devices it sells under or in connection with

11:29:16   7    the Defendants' Nextel mark.        Admitted.

11:29:21   8              The goods Nextel, Inc. and/or its dealers or

11:29:26   9    distributors on behalf of Nextel, Inc. advertise, promote, sell,

11:29:31 10     or offer for sale under, or in connection with Defendants'

11:29:34 11     Nextel mark are telecommunications devices that are capable of

11:29:39 12     making two-way radio calls.        The response.   Defendants object to

11:29:43 13     this request on the grounds that goods and two-way radio calls

11:29:47 14     are vague and unclear.        Subject to and without waiving this

11:29:50 15     objection, the request is admitted.

11:29:55 16               Only three more.

11:29:57 17               THE COURT:    Go.

11:30:01 18               MR. RIOPELLE:       Request.   At some point between August

11:30:07 19     2018 and November 2018, Defendants' chirp was used on the web

11:30:14 20     pages hosted at the domain nextelmobileworldwide.com.         Response.

11:30:18 21     Defendants Stephen Calabrese and Nextel, Inc. object to this

11:30:22 22     request on the grounds that Defendant RetroBrands USA, LLC's

11:30:27 23     pending trademark with the United States Patent Office is Nextel

11:30:32 24     chirp and not chirp.      Defendants Stephen Calabrese and Nextel,

11:30:36 25     Inc. are not parties to the Nextel chirp trademark application.


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11:30:39   1    Subject to and without waiving this objection, the request is

11:30:40   2    admitted.

11:30:45   3                The request, next request.     The intended customers for

11:30:50   4    goods and services offered in connection with were under

11:30:53   5    Defendants' Nextel mark by Nextel, Inc. And/or its dealers and

11:30:56   6    distributors include first responders and other government

11:30:59   7    entities.     Response, admitted.

11:31:08   8                And the last one.   Request.    Nextel, Inc. told

11:31:12   9    RetroBrands about Sprint's objections to Nextel, Inc.'s use of

11:31:17 10     Defendant's Nextel mark prior to Nextel, Inc. and RetroBrands

11:31:21 11     entering into a license agreement related to Defendants' Nextel

11:31:24 12     mark.    Response, admitted.

11:31:27 13                 With those Your Honor, Sprint rests its case.

11:31:31 14                 THE COURT:   All right.   Now ladies and gentlemen, we're

11:31:34 15     going to need to have some legal arguments and discussions at

11:31:38 16     this point, which are going to take a while and all of us got to

11:31:42 17     eat.    As you can tell, anorexia has been ruled out in my case

11:31:49 18     and so we're going to break until 1:30.        I also have two

11:31:52 19     sentencings in criminal cases that are pending that are going to

11:31:58 20     start at 12:15.     So I may have to suck it up.

11:32:00 21                 Anyway, the bottom line is you don't have to come back

11:32:05 22     until 1:30.     You're free to go to lunch.     Remember you're not to

11:32:09 23     discuss the case with anyone or permit anyone to discuss it with

11:32:13 24     you, even among yourselves.      Secondly, don't -- if you see the

11:32:16 25     lawyers and they run away and hide, they're not being rude,


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11:32:20   1    they're following instructions.      Third, remember you must not

11:32:23   2    form any opinion about this case until all the evidence is in.

11:32:27   3    You are required to keep an open mind until you start your

11:32:29   4    deliberations at the end of the case.

11:32:33   5              We are making progress, so let's see if we can get this

11:32:37   6    done.   All right?     We'll be in recess until 1:30 for the jury.

11:32:38   7              COURT SECURITY OFFICER:      All rise.

11:32:44   8              (Jury out at 11:32 a.m.)

11:33:15   9              THE COURT:     You may be seated.

11:33:17 10               Okay.   What's next?

11:33:19 11               MR. SCHWARTZ:     Your Honor, the Defendants at this time,

11:33:23 12     after the Plaintiff has rested their case under Rule 50(a)(1) as

11:33:28 13     to the claims for all Defendants related to the 139 mark that

11:33:33 14     the Plaintiff, earlier in these proceedings in open court,

11:33:36 15     stipulated that they were not proceeding against and that they

11:33:41 16     have not put forth any sufficient evidentiary basis, we move for

11:33:44 17     a judgment as a matter of law that there is no infringement as

11:33:48 18     to the 139 mark for all Defendants.       I don't know if the Court

11:33:50 19     wants to take each of my --

11:33:52 20               THE COURT:     Yeah, let's deal with that.     Is that agreed

11:33:53 21     upon?

11:33:55 22               MS. WHEATLEY:     Your Honor, we did not include that

11:33:59 23     registration in the joint pretrial order so we can do -- we are

11:34:03 24     not asserting counterfeiting with respect to that registration.

11:34:07 25     However, we maintain our claims for infringement with respect to


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11:34:11   1    Nextel with telecommunications services which is based on

11:34:13   2    Sprint's use that was presented today.

11:34:19   3              THE COURT:    So what is your argument as to his motion?

11:34:24   4              MS. WHEATLEY:    Our argument is that we -- that is not

11:34:28   5    as currently asserted in the case any counterfeiting claim with

11:34:28   6    respect to that registration.

11:34:32   7              THE COURT:    Okay.   So he's moved to strike any mention

11:34:35   8    of 139.   Any problem with that?

11:34:36   9              MS. WHEATLEY:    That's acceptable.

11:34:39 10               THE COURT:    Okay.   Then you've won to the extent that

11:34:42 11     139 will not be argued to the jury, will not be presented to the

11:34:43 12     jury.

11:34:46 13               Next.

11:34:54 14               MR. SCHWARTZ:    Your Honor, it has to include both their

11:34:58 15     claims and defenses of abandonment.       It's all.

11:35:00 16               THE COURT:    Say again?

11:35:01 17               MR. SCHWARTZ:    We have our counterclaims for

11:35:03 18     abandonment, it has to --

11:35:06 19               THE COURT:    You can argue your case for abandonment all

11:35:10 20     you want, but not at this point.       At this point all I'm saying

11:35:14 21     is dropping their claim.

11:35:17 22               MR. SCHWARTZ:    Second, Your Honor, as to each of the

11:35:21 23     Defendants separately, in their individual basis and then their

11:35:26 24     corporate basis, they move for a judgment as a matter of law on

11:35:30 25     the Plaintiff's affirmative claims of infringement as to the


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11:35:38   1    sound mark that's Registered Number 5047282, based upon the

11:35:42   2    Plaintiff's failure to provide sufficient evidence to support

11:35:48   3    the claim as to Mr. Kaplan, as to Mr. Calabrese separately,

11:35:53   4    individually, as to Nextel, Inc., as to RetroBrands USA, LLC and

11:35:58   5    as to Nextel Mobile Worldwide, Inc.

11:36:02   6              THE COURT:    Okay.   Let me hear your response please.

11:36:05   7              MS. WHEATLEY:    Your Honor, we introduced Exhibit 113

11:36:10   8    which was a video that included the Nextel chirp, it was

11:36:13   9    acknowledged to have been created by Mr. Kaplan and RetroBrands,

11:36:17 10     Mr. Kaplan is the only employee in RetroBrands.         And we also

11:36:22 11     introduced a video showing a Nextel device that had the Nextel

11:36:26 12     chirp from one of Defendants acknowledged distributors

11:36:27 13     Northeast.

11:36:30 14               THE COURT:    Defendant being whom?

11:36:32 15               MS. WHEATLEY:    Nextel, Inc. though Nextel, Inc. is

11:36:35 16     acting as a licensee for Defendant Jeffrey Kaplan and

11:36:38 17     RetroBrands and Nextel Mobile Worldwide.

11:36:40 18               THE COURT:    Okay.   What about Mr. Calabrese?

11:36:44 19               MS. WHEATLEY:    Mr. Calabrese is also liable in his

11:36:47 20     personal capacity for infringement of the chirp because he is

11:36:51 21     the president of Nextel, Inc.      He has testified that he made the

11:36:57 22     decision to use the Nextel branding and Northeast is his

11:37:00 23     distributor on his website which he testified he created.

11:37:03 24               THE COURT:    I'll deny your motion on that issue.

11:37:05 25               Next?


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11:37:12   1              MR. SCHWARTZ:    Finally Your Honor, the Defendants, all

11:37:17   2    Defendants in their individual capacity, and the corporate

11:37:22   3    Defendants, with the exception of Nextel, Inc. move for a

11:37:24   4    judgment as a matter of law as to the claims of infringement for

11:37:33   5    equipment which is the 1,884,244 trademark, based upon the fact

11:37:36   6    that Plaintiffs have failed to put forth a sufficient

11:37:38   7    evidentiary basis as to claims of infringement to the

11:37:43   8    individuals and the corporations I just identified.

11:37:44   9              THE COURT:    I'll deny that motion.

11:37:47 10               Next?

11:37:50 11               MR. SCHWARTZ:    No further.

11:37:53 12               THE COURT:    All right.   Then we'll be in recess.       Be

11:38:01 13     ready to proceed starting at whatever I said, 1:30?         Okay?

11:38:06 14               How long do you think your case will take?

11:38:16 15               MR. SCHWARTZ:    We likely will go past today, Your

11:38:20 16     Honor, and maybe part of the morning tomorrow morning.

11:38:22 17               THE COURT:    Okay.   I'll try to get the proposed

11:38:25 18     instructions with the understanding that clearly they're not

11:38:28 19     going to be finalized until we finished all of the evidence, but

11:38:32 20     it will give you some idea of which way we're going, which way

11:38:37 21     my thinking is on the instructions, and we'll try to get them to

11:38:39 22     you this afternoon before we break so that you can look at them

11:38:43 23     tonight and we can take -- have a charge conference tomorrow,

11:38:46 24     maybe we can give this case to the jury tomorrow afternoon.

11:38:48 25     We'll see what we can do.


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11:38:51   1                All right?    We'll be in recess until 1:30.    I have two

11:38:55   2    sentencings, so unless you don't value your pens or anything

11:38:58   3    else, I would definitely remove them from this table.            This

11:39:02   4    table I think you're reasonably safe, just move them to the end

11:39:08   5    if you need to.     The prosecutors don't usually cop small items,

11:39:11   6    but I can't speak for the people that are coming over from the

11:39:16   7    jail.   They're in there for a reason.

11:39:16   8                (See Volume 4 for continuation)

11:39:16   9                          C E R T I F I C A T E
                I certify that the foregoing is a correct transcript from the
11:39:16 10     record of proceedings in the above-entitled matter.

11:39:16 11     4/13/2022                  /s/ Dawn M. Savino, R.P.R., C.R.R.
                Date                           DAWN M. SAVINO, R.P.R., C.R.R.
11:39:16 12
                                                I N D E X
11:39:16 13
                                                WITNESSES
11:39:16 14
                ALL WITNESSES:                                             PAGE:
11:39:16 15
                For Plaintiff:
11:39:16 16
                  Thomas Shaughnessy:
11:39:16 17         Examination outside presence of jury by Ms.            7:3
                Wheatley
11:39:16 18         Cross-Examination by Mr. Kernell                       13:25
                    Continued Direct Examination by Ms. Wheatley           28:9
11:39:16 19         Cross-Examination by Mr. Kernell                       45:19
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11:39:16    1
                For Defense:
11:39:16    2
                5232       :
11:39:16    3              In Evidence                                     52:10


11:39:16    4

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